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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF ILLINOIS
                             EAST ST. LOUIS DIVISION

  DEMETRIUS ROSS, et al., on behalf of                )
  themselves and all others similarly situated,       )
                                                      )
                         Plaintiffs,                  ) Case No. 15 C 0309
                                                      )
  v.                                                  ) Hon. Judge Staci M. Yandle
                                                      )
  GREG GOSSETT, et al.,                               ) Hon. Magistrate Judge Mark A. Beatty
                                                      )
                         Defendants                   )
                                                      )

                   PLAINTIFFS’ MEMORANDUM IN OPPOSITION
               TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


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                                         INTRODUCTION

        Summary judgment’s purpose is to determine what genuine disputes of material fact should

 be submitted to a jury at trial. There is no dispute among the parties that the 2014 shakedowns

 were executed according to a uniform plan. But there is an enormous dispute over what that plan

 actually consisted of in practice. Defendants claim that plan was routine and followed IDOC

 policies and written operations orders. But Plaintiffs have amassed substantial evidence that the

 written operations orders were incomplete and inconsistent with the instructions given to tactical

 team members, which was done solely through verbal instructions that contradicted those orders

 and IDOC policy. Plaintiffs have further adduced evidence of widespread physical and

 psychological abuse documented with striking similarity across all of the affected facilities, in with

 prisoners consistently recounting how a tactical team known for its anonymity and brutality

 subjected class members to humiliation and abuse without justification. Hoping to skip out on trial,

 Defendants ignore the wealth of evidence developed by Plaintiffs over the course of this case. But

 when considered in the light most favorable to Plaintiffs, as this Court must at the summary

 judgment stage, it is plain the factual disputes in this case are legion, and the issues must be

 submitted to a jury to weigh the evidence and decide which account to believe. This Court should

 enter an order denying summary judgment on all counts.

    RESPONSE TO DEFENDANTS’ STATEMENT OF MATERIAL FACTS (“RSMF”)

        Paragraphs 1, 4, 11, 13, 26-28, 35-36, 48-49, 51-52, 54-56, 57, 60-64, 66-68, 71, 73-80,

 82, 84-85, 87, 89-94, 98, 100-101, 103, 105, 108-109, 112-115, 117-125, 127-131, 133-137, 139-

 140, 146, 148-152, 154, 156-157, 159-166, 169-170, 172-174, 177, 179-187, and 192 are

 undisputed. With respect to the remaining paragraphs, Plaintiffs respond as follows:




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        2.      Disputed in part. While prison staff across IDOC facilities regularly perform cell

 searches, facility-wide shakedowns are uncommon. PSMF ¶¶ 10-11.

        3.      Deny. As above, facility-wide searches are uncommon across IDOC facilities.

 PSMF ¶ 10-11.

        5.      Deny. Facility-wide searches are uncommon precisely because they are disruptive

 and fail to accomplish the legitimate penological purposes that they purport to achieve. PSMF ¶¶

 10-11. Less intrusive options are available that more effectively achieve these same purposes,

 rather than resorting to facility-wide searches as a last resort. PSMF ¶¶ 11-14.

        6.      Deny. Other less intrusive options exist that accomplish the same goals that facility-

 wide searches purport to with better efficacy. PSMF ¶¶ 11-14.

        7.      Disputed in part. While searches may be a tool for gathering gang intelligence, there

 are other means to gather such information without disrupting the routine operations of facilities.

 PSMF ¶¶ 11-14.

        8.      Disputed in part. These purposes can be accomplished without placing prisoners in

 painful cuffing positions and requiring these individuals to stand in holding areas without breaks.

 PSMF ¶¶ 56-59, 71-75.

        9.      Deny. It is uncommon to do these searches without prior incidents justifying the

 use of this technique as a last resort. PSMF ¶¶ 10-11.

        10.     Disputed in part. Tactical teams are typically used for operations where use-of-

 force by officers is virtually guaranteed, such as forcible cell extractions, prisoner rights, and

 prisoner escapes. PSMF ¶¶ 15.




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        12.     Deny. Tact team members are selected through a process that requires no additional

 training and no interview to vet members. PSMF ¶¶ 18. The hiring process is informal,

 unprofessional, and largely kept secret in a manner that cultivates a culture for abuse.

        14.     Disputed in part. While IDOC did maintain policies for conducting strip searches,

 these policies were not followed during the shakedowns in this case. PSMF ¶¶ 50-52.

        15.     Disputed in part. While Menard has a strip-search policy, there is evidence that this

 written policy was not used in practice. PSMF ¶¶ 50-52.

        16.     Disputed in part. While Menard has a strip-search policy, there is evidence that this

 written policy was not used in practice. PSMF ¶¶ 50-52.

        17.     Disputed in part. While IDOC policy may prohibit female officers from being

 present for strip searches of male prisoners, there is evidence in the record that this policy was not

 followed in practice. PSMF ¶¶ 50-52.

        18.     Deny. IDOC policy does not require that prisoners be moved with their heads down

 and in a tight formation for large line movements. It allows for large line movements of up to 90

 prisoners, uncuffed, and escorted by two or more guards. PSMF ¶¶ 68.

        19.     Deny. Movement in this matter imperils prisoners and increases the likelihood of

 unnecessary injury from close line movements. PSMF ¶¶ 70.

        20.     Deny. IDOC policy and practice allows large line movements without these

 practices in other circumstances. PSMF ¶¶ 68.

        21.     Deny. Prisoners may be moved even during large searches with their hands

 uncuffed. PSMF ¶¶ 68.




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        22.     Deny. IDOC policy allows for movement without handcuffing because there is

 nothing to suggest that prisoners will act more violently or erratically during large movements.

 PSMF ¶¶ 68-69.

        23.     Deny. Cuffing during movements of the sort employed here harm prisoner safety

 by creating tripping and fall hazards. PSMF ¶¶ 70.

        24.     Disputed in part. While prisoners can obtain a front cuffing permit from their

 facility, the record reveals that cuffing permits were not respected during shakedowns. PSMF ¶¶

 32.

        25.     Disputed in part. Class members were needlessly cuffed for long periods of time

 that resulted in severe physical and emotional distress. PSMF ¶¶ 56-59. There is no indication that

 cuffing in this manner during mass movements is required to minimize the chance that prisoners

 will secure contraband. PSMF ¶¶ 59.

        29.     Deny. The record demonstrates that officers did not complete shakedown slips for

 confiscated property or only provided incomplete or illegible shakedown slips. PSMF ¶¶ 79.

        30.     Deny. Permitted property was confiscated by officers who had no familiarity with

 the rules of the facilities they were searching, and officers failed to provide shakedown slips

 indicating what good cause justified property seizure. PSMF ¶¶ 76-79.

        31.     Disputed in part. The record demonstrates numerous examples of officers deviating

 from written IDOC policies and instead abiding by the verbal briefings given prior to the

 shakedowns. PSMF ¶¶ 30-32.

        32.     Disputed in part. While IDOC policy provides a standard approach for a strip

 search, shakedown practices did not abide by the written policies for strip searches. PSMF ¶¶ 50-

 52.




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        33.     Unsupported. Defendants exhibit states that administrators and executive staff

 would review training but did not receive more substantive physical training. See ECF 642-12 at

 45-46. Tact team members received very little training on the job, and there is no indication that

 officers were regularly trained on these matters. PSMF ¶¶ 18.

        34.     Deny. Evidence indicates that Defendants did not initiate searches to eliminate

 contraband but because the facilities had not been recently searched. PSMF ¶¶ 4-9.

        37.     Deny. In practice, the shakedowns were executed pursuant to the uniform plan

 outlined in pre-shakedown briefings and “cheat sheets,” rather than the operations orders. PSMF

 ¶¶ 23-34.

        38.     Disputed in part. There is no evidence that tact team members from multiple

 facilities were needed to execute the shakedowns quickly. Instead, facility-wide searches are not

 used regularly in IDOC because they require staff from multiple facilities who are unfamiliar with

 the prisoners, practices, and policies of the facilities, which results in problems during execution.

 PSMF ¶¶ 10-11. These are massive logistical undertakings, which can exacerbate existing tendons

 within the facilities. PSMF ¶¶ 11.

        39.     Disputed in part. While tact team members report to the regional tact team

 commanders and statewide commanders, wardens and assistant wardens are still responsible for

 the conduct of tact teams at their respective facilities. PSMF ¶¶ 23.

        40.     Disputed in part. While these shakedowns were executed pursuant to a uniform

 plan, that plan was outlined in the pre-shakedown briefings and “cheat sheets,” rather than the

 written operations orders. PSMF ¶¶ 29-34.




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         41.     Disputed in part. While the shakedowns began with officers entering the living area

  quickly and noisily, this practice was used to intimidate prisoners, rather than to put them on notice

  to the search. PSMF ¶¶ 39-49.

         42.     Deny. Entering a cellblock noisily would undermine any purported goal to keep

  prisoners from destroying contraband, as it would give prisoners notice that the search had begun

  and give them the opportunity to do precisely that. PSMF ¶¶ 42.

         43.     Deny. The record indicates that multiple prisoners were subjected to humiliating

  “reverse” strip searches. PSMF ¶¶ 50-52.

         44.     Disputed in part. “Cheat sheets” provided to tact team members before the

  shakedowns provided a uniform instruction to officers that prisoners were not allowed to put their

  underwear or socks back on. PSMF ¶¶ 53-55.

         45.     Deny. There was no legitimate penological reason for this practice, and it was

  simply designed to humiliate. PSMF ¶¶ 54.

         46.     Deny. This practice was designed to humiliate prisoners. PSMF ¶¶ 54.

         47.     Deny. IDOC policy allows for large line movements of prisoners without requiring

  them to walk in painful cuffing positions, close together, with their heads down, as such movement

  risks injury to the prisoners. PSMF ¶¶ 68.

         50.     Deny. The record demonstrates that supervisors were notified of reports of abuse

  throughout the execution of these shakedowns, yet they did nothing. PSMF ¶¶ 82-86.

         53.     Deny. Defendants’ expert distorts the numbers here. As stated in their footnote,

  “[s]everal inmates alleged that they told officers they had an injury that should be accommodated

  with no handcuffing or different handcuffing, but only two inmates actually alleged they had a

  permit allowing a different handcuffing procedure that was not honored.” ECF 642-4 at 23 n.5. In




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  other words, Defendants’ expert used their own criteria to determine who “properly” alleged that

  a permit was not respected.

         58.     Deny. Godinez received notice of abuses occurring during the shakedowns yet did

  not act to correct these issues. PSMF ¶¶ 83.

         59.     Deny. Final approval of the statewide shakedowns lay with Yurkovich, Atchison,

  and Godinez. PSMF ¶¶ 26.

         65.     Deny. Yurkovich and Atchison were responsible for developing the initial

  shakedown plans. PSMF ¶¶ 25. Yurkovich and Atchison decided to use facility-wide shakedowns,

  rather than less intrusive options. PSMF ¶¶ 12-14 Yurkovich and Atchison supervised the pre-

  shakedown briefings held by White and McAlister, where the uniform plan was provided. PSMF

  ¶¶ 27-30.

         69.     Disputed in part. Yurkovich and Atchison had daily conversations with on-the-

  ground staff, including instructing White and McAllister were advised on conducting future

  shakedowns in response to reports of staff misconduct. PSMF ¶¶ 26, 83.

         70.     Disputed in part. Final approval of the written operations orders lay with

  Yurkovich, Atchison, and Godinez. PSMF ¶¶ 26.

         72.     Deny. Yurkovich and Atchison were responsible for developing the initial

  shakedown plans. PSMF ¶¶ 25. Yurkovich and Atchison decided to use facility-wide shakedowns,

  rather than less intrusive options. PSMF ¶¶ 25. Yurkovich and Atchison supervised the pre-

  shakedown briefings held by White and McAlister, where the uniform plan was provided. PSMF

  ¶¶ 27-30.

         81.     Deny. White, alongside McAllister, conducted the pre-shakedown briefings where

  the uniform plan was laid out to tact team members. PSMF ¶¶ 28-30.




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         83.     Disputed in part. Both McAllster and Whiter were involved in drafting written

  operations orders. PSMF ¶¶ 26-27.

         86.     Disputed in part. McAllister and/or White was responsible for conducting initial

  briefings with facility tact commanders and tact teams. PSMF ¶¶ 26-27. Written operations orders

  were not distributed or reviewed at these briefings and, instead, verbal “cheat sheets” that omitted

  information or contradicted the written operations orders were what guided the shakedowns. PSMF

  ¶¶ 28-34.

         88.     Deny. McAllister, alongside White, conducted the pre-shakedown briefings where

  the uniform plan was laid out to tact team members. PSMF ¶¶ 26-27.

         95.     Deny. Craig was the second in command at Big Muddy, after tact team commander

  McAllister. Defs. ECF 642-46 at 27:14-28:2.

         96.     Deny. Craig was present and spoke with McAllister during the morning briefing.

  Ex. SS at 29:6-23. He was present and available during the shakedowns to assist. Id. at 32:5-12.

         97.     Deny. Craig was present and spoke with McAllister during the morning briefing.

  Ex. SS at 29:6-23. He was present and available during the shakedowns to assist. Id. at 32:5-12.

         99.     Deny. Hermetz’s role was to maintain the security of the operation while it was

  occurring. ECF 642-24 at 88:12-15.

         102.    Deny. Hermetz’s role was to maintain the security of the operation while it was

  occurring. Id. at 88:12-15.

         104.    Deny. As a regional tact team commander, White, alongside McAllister, was

  responsible for overseeing the development and execution of plans across facilities. PSMF ¶¶ 35.

         106.    Deny. The record states that White attended these briefings as a tact team

  commander, even if he has no specific memory of doing so. PSMF ¶¶ 27-29.




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         107.   Deny. White, alongside McAllister, conducted the pre-shakedown briefings where

  the uniform plan was laid out to tact team members. PSMF ¶¶ 27-29.

         110.   Deny. Finney recalls participating in the shakedown at Lawrence, Menard, and Big

  Muddy. ECF 642-17 at 121:1-8, 122:11-21, 123:18-124:11, 124:4-16.

         111.   Deny. Finney recalls participating in the shakedown at Lawrence, Menard, and Big

  Muddy. Id. at 121:1-8, 122:11-21, 123:18-124:11, 124:4-16.

         116.   Deny. Gossett asserted that all officers acted consistent with the tact team plans

  during the 2014 shakedowns. ECF 642-6 at 264:23-265:20.

         126.   Deny. Arnett was responsible for supervising team members during the

  shakedowns at Illinois River. Defs. ECF 642-19 at 62:8-18.

         132.   Deny. Piper was responsible for giving instructions to tact team members on how

  to execute the uniform plan. ECF 642-47 at 120:14-121:15.

         138.   Deny. Duncan was a member of the pre-operations tactical team and responsible

  for providing members with instructions in pre-shakedown briefings. ECF 642-20 at 51:12-22.

         141.   Deny. Moore was present at operational plan briefings with tact team members and

  conveyed prisoners’ personal property concerns to McAllister. ECF 642-38 at 66:20-68:8.

         142.   Disputed in part. Moore was tasked with ensuring tact team compliance with the

  uniform plan in his facility, provided support to McAllister, and observed the operation for

  approximately an hour. Id. at 78:3-79:21, 81:6-82:1.

         143.   Deny. Moore was present at oral briefings and collaborated with McAllister to

  ensure compliance. Id. 66:20-68:8, 78:3-79:21, 81:6-82:1.




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         144.    Disputed in part. Gilreath was employed at Lawrence at the time of the shakedown,

  which occurred before his military service orders came through. ECF 642-15 65:3-70:5. He could

  not recall if he was still in command at the time. Id. at 70:6-72:17.

         145.    Disputed in part. Gilreath could not recall his role in the Lawrence shakedown. Id.

         147.    Deny. Gilreath recalls some incidents he was present for during shakedowns, such

  as an incident where a prisoner’s shoulder was injured. Id. at 129:18-130:20.

         153.    Deny. As one of the two tact team commanders assigned to this operation,

  McAllister, alongside White, was responsible for working with Yurkovich and Atchison to

  develop and execute the uniform plan. PSMF ¶¶ 25-26.

         155.    Deny. Butler participated in drafting and reviewing operations orders for the

  shakedown. ECF 642-18 at 38:8-39:12, 41:15-42:1.

         158.    Deny. Butler participated in drafting and reviewing operations orders for the

  shakedown. Id.

         167.    Disputed in part. Witthoft supervised the tact team’s search operations and ensured

  that they were conducting the search according to the uniform plan. ECF 642-54 at 78:8-24.

         168.    Deny. Witthoft, as the institutional tact team commander, would have been

  responsible for tact team members within the holding area. Id. at 72:19-75:18.

         171.    Deny. The uniform plan developed by the Defendants in this matter deviated from

  IDOC policy in several respects, including strip search, cuffing, and movement policies. PSMF ¶¶

  50-52, 56-59, 66-70.

         175.    Deny. IDOC policy did not require that prisoners be handcuffed for these large line

  movements. PSMF ¶¶ 68.




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         176.    Deny. Prisoners testified that they were forced to wait for extended periods of time

  in uncomfortable positions. PSMF ¶¶ 71-75.

         178.    Deny. Prisoners testified that they were required to perform humiliating “reverse

  strip searches.” PSMF ¶¶ 50-52.

         188.    Disputed. The claimed fact is not supported by the evidence cited.            Fifteen

  interviews are cited. In all but two, the attorney conducting the interview does not ask what order

  the search was performed in. The only exceptions are ECF 491-7 at 62 (9:1-10) and ECF 491-7

  at 91 (4:21-5:7). In the remaining interviews, the attorney is notably careful not to ask about the

  order of search (head-to-toe or reverse). In most of the cited examples, the prisoner does not state

  the order of search. The following, for example, is cited by Defendants as confirmation that no

  reverse strip search occurred:

                13· · · · MR. DURAND:· · And can you explain how they did the strip
                14· ·search?
                15· · · · MR. VARNADO:· · They strip searched us, checked our hands,
                16· ·our nails, I mean our hands, our hair, our ears, tongue, mouth,
                17· ·our feet, and they pat us down like we actually had clothes on.

  ECF 491-7 at 212 (3:13-17). There are 40 interviews transcribed by the Defendants in ECF 491-

  7. A correct statement would be that only in two of those 40 interviews did a prisoner recall a strip

  search being conducted head to toe.

         189.    Deny. Prisoners testified that they were touched or shoved in one another during

  line movements. PSMF ¶¶ 63-66.

         190.    Deny. At least 18 class members reported being pushed and shoved by tact team

  members during line movements. PSMF ¶¶ 60.




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         191.    Deny. Plaintiffs’ expert Pat Hurley testified that, had the searches been executed

  according to IDOC policies, they could have been acceptable, but these searches were executed

  according to an unwritten uniform plan. ECF 642-50 at 245:23-246:2.

         193.    Deny. Plaintiffs’ expert Daniel Pacholke testified that handcuffing was unnecessary

  under these circumstances, as IDOC policies allowed for mass line movements without the need

  for prolonged, painful, and unnecessary cuffing. PSMF ¶¶ 68.

      PLAINTIFFS’ STATEMENT OF ADDITIONAL MATERIAL FACTS (“PSMF”)

         1.      Plaintiffs’ claims concern the constitutionality of facility-wide shakedowns that

  occurred at four Illinois Department of Corrections (“IDOC”) prisons: Menard Correctional Center

  (“Menard”) in April 2014, Illinois River Correctional Center (“Illinois River”) in April 2014, Big

  Muddy River Correctional Center (“Big Muddy”) in May 2014, and Lawrence Correctional Center

  (“Lawrence”) in July 2014.

         2.      During the relevant time frame in 2014, Defendant Salvador Godinez served as the

  IDOC Director. ECF 481-18 at 26:19-21. Defendant Joseph Yurkovich was the Chief of

  Operations, and Defendant Michael Atchison was the Deputy Chief of Operations. ECF 481-16 at

  65:2-10; ECF 481-6 at 45:11-13.

         3.      Defendant David White was the Statewide Tact Commander, and Defendant

  Anthony McAllister was the Southern Regional Tact Commander. ECF 481-7 at 24:13-23, 32:6-

  8; ECF 481-17 at 13:7-10, 56:14-16. As Southern Regional Tact Commander, McAllister was

  responsible for Big Muddy, Lawrence, and Menard, among others. Id. at 55:22-56:5. There was

  no Central Regional Tact Commander. ECF 481-7 at 32:23-33:11.




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                   Defendants Create a Common Plan to Conduct Shakedowns

          4.      In 2014, Yurkovich and Atchison decided to perform prison-wide searches at IDOC

  facilities as part of a “spring cleaning” initiative to remove trash and contraband from the facilities.

  ECF 481-16 at 93:13-95:6; ECF 481-69 at 2 (discussing the upcoming “wave of the ‘spring

  cleaning’ whole facility shakedowns”).

          5.      Yurkovich and Atchison had several conversations amongst themselves to form

  their plan regarding these shakedowns and their intended purpose. ECF 481-6 at 42:4-21, 45:21-

  47:1. Yurkovich testified that he could not recall if the operation was in response to increased staff

  assaults, increased contraband, gang activity, or any risks to the safety and security of the facilities.

  ECF 481-16 at 103:23-104:15; Ex. A at 14. Instead, Yurkovich and Atchison decided to initiate

  these sweeps, not in response to any particular concerns within these facilities, but because the

  prisons “hadn’t been searched on a facility-wide scale in a long time.” ECF 481-6 at 46:1-10; ECF

  481-16 at 103:23-104:15.

          6.      Initially, Yurkovich and Atchison’s plan was to conduct a facility-wide shakedown

  of every prison within the state, regardless or whether or not the prison had experienced any issues

  with contraband, assaults, or the like. ECF 481-16 at 103:17-22, 106:22-107:4. In the end, the

  prisons that ended up being the subject of a facility-wide searches appear to be mostly random,

  based on scheduling rather than any safety or similar concerns. ECF 481-71.

          7.      Before they decided to plan this “spring cleaning” initiative, Yurkovich emailed

  Eddie Caumiant, the state union president for the majority of IDOC correctional staff, informing

  him that multiple facilities statewide would be locked down. Ex. B. Mr. Caumiant replied

  positively, as staff union members “want to see a facility wide lock and shakedown. They are




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  getting very worried that the place is losing control, and are starting to whisper ‘no confidence’

  among other things.” Id.

         8.         Plaintiff expert Daniel Pacholke has offered the opinion that there was no

  penological purpose for Yurkovich to provide notice to the union of the upcoming shakedowns.

  Ex. A at 14. Yurkovich would have known, as a prison administrator with his tenure and

  experience, that providing notice to the union would undermine any operational justification for

  these shakedowns that required maintaining secrecy. Id. at 15. Mr. Pacholke also offers the opinion

  that a correctional administrator with Yurkovich’s experience would have known the union staff

  president would relay this news to lay members throughout the targeted facilities in advance of the

  shakedowns, which would have undermined the purported secrecy of the plan. Id.

         9.         Mr. Pacholke has further offered the opinion based on his experience as a former

  prison administrator in a state with politically influential correctional officer unions that a prison

  administrator would understand that “Mr. Caumiant’s mention of staff discussing a vote of no

  confidence was a threat to Defendant Yurkovich because a union member vote of no confidence

  … could very likely result in Mr. Yurkovich, and others in IDOC leadership roles, losing their

  positions.” Id.

                      Yurkovich and Atchison Skip to Facility-wide Shakedowns
                           Ignoring Better Options to Find Contraband

         10.        Prison staff across IDOC facilities regularly perform area searches, commonly

  referred to as “shakedowns,” of one or more cells or wings. ECF 481-8 at 51:3-52:2. By contrast,

  facility-wide shakedowns go beyond these routine searches, as they are “statewide” operations that

  require the use of tact team members from multiple prisons to execute them. These shakedowns

  require approval from and supervision by senior members of the IDOC administration. ECF 481-

  6 at 33:12-22, 46:11-15. Before 2014, facility-wide shakedowns were rare or nonexistent in IDOC.


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  ECF 481-17 at 108:19-110:24; ECF 481-6 at 46:1-10; ECF 481-26 at 63:11-64:6; ECF 481-19 at

  49:18-51:10.

          11.    Mr. Pacholke has offered the opinion that operations such “statewide” operations

  require using staff from multiple facilities who are unfamiliar with the prisoners, practices, and

  allowable property at each facility. Ex. A at 16. Pacholke explains that prison administrators would

  be expected to know that such unfamiliarity exacerbates existing tensions within facilities. Id. at

  16-17

          12.    Mr. Pacholke has additionally explained that Yurkovich and Atchison’s decision to

  conduct statewide, facility-wide shakedowns skipped more common and more effective methods

  for reducing contraband, gathering gang intelligence, and mitigating security threats. Id. at 17. It

  is more common to “conduct cell searches more frequently than the usual practice in several units”

  and “target a limited number of cells” to narrow the search. Id. This approach uses staff assigned

  to a facility who are familiar with allowable property, electronics, permits, and commissary “to

  minimize wrongful confiscations.” Id. It also does “not require a lockdown, a fully dressed out

  tactical team, or a large and expensive number of staff.” Id. “It would represent a slight escalation

  of business as usual, but would not require lengthy lockdowns, restrictions of activities, or placing

  prisoners in restraints for extended periods of time in a holding area.” Id. “Once the assessments

  were completed, the warden could make a determination if the contraband levels are normal or if

  the levels are high enough to justify conducting additional searches.” Id.

          13.    Mr. Pacholke explains that there are even less intrusive options at prison officials’

  disposal. For example, some prisons employ a “contraband amnesty day,” where prisoners are able

  to deposit contraband in a designated area with no questions asked and no interaction with staff.

  Id. at 16-17. As Mr. Pacholke explains, “[t]his simple approach resulted in fairly high amounts of




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  lower-level contraband and some dangerous contraband being voluntarily surrendered.” Id. at 17.

  “The value of the approach was that it was upfront, announced ahead of time, and staged in a way

  that everyone knew what was occurring and why.” Id. Additionally, this approach gives prison

  officials “insight into the types of contraband [they] should be looking for during cell searches and

  if [they] received improvised weapons, we could track down the materials being used to make

  them and respond proactively.” Id. In other words, contraband amnesty days allow prison officials

  to “reduce[] contraband, gain[] valuable information, and [] not disrupt operations or create tension

  in the process.” Id.

          14.     Even when violence occurs, Mr. Pacholke explains, a facility-wide shakedown is

  not the only option prison administrators have at their disposal. Id. at 15. Instead, the facility could

  be placed on lockdown pending an assessment of the disturbance. Id. Over the course of several

  days, “investigators, counselors, or other staff could . . . . be[] assembled and deployed with a

  standard set of questions that each inmate would be asked.” Id. The results of those interviews

  would inform the transition of the facility back to normal, through “[i]ncremental steps [that] could

  [] [] allow[] recreation, resuming visiting, and resuming phone calls.” Id. at 16. This approach can

  de-escalate conflict while achieving the goal of gathering intelligence and maintaining safety. Id.

                           Yurkovich and Atchison Enlist Orange Crush
                             A Team Used for Intimidation and Force

         15.     Yurkovich and Atchison decided to use IDOC tactical teams to execute the

  shakedowns. ECF 481-6 at 47:21-49:8; ECF 481-71 at 2-3. Tact teams are utilized (or “activated”)

  in situations where use of force against prisoners is virtually guaranteed, such as forcible cell

  extractions, prisoner riots, and prisoner escapes. ECF 486-1 at 6-17, 50.

          16.    Tact team members are supervised by a facility tact commander and one or more

  assistant commanders at the prison where they work, followed by the Regional Tact Commander


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  (McAllister) and the Statewide Tact Commander (White). ECF 481-8 at 18:3-21; ECF 481-16 at

  67:10-69:24; ECF 481-17 at 83:6-84:15. All tact command staff answer to the IDOC Deputy Chief

  of Operations (Atchison) and the Chief of Operations (Yurkovich), who in turn answer to the IDOC

  Director (Godinez). ECF 481-17 at 83:6-10; ECF 481-16 at 136:14-16.

         17.     Tact team members wore an orange jumpsuit, a vest, a helmet with a face shield,

  gloves, a 3-foot baton, pepper mace, a flashlight, and a radio. ECF 481-7 at 38:21-39:2; ECF 486-

  1 at 51. These uniforms concealed team members’ identities–the helmet covered their face, the

  gloves prevented a prisoner from being able to identify even the race of the officer, and the

  jumpsuits had no identifying names or numbers. ECF 481-7 at 39:5-11; ECF 486-1 at 51. Because

  of their uniforms, IDOC staff and prisoners referred to the tact team as “Orange Crush.” ECF 481-

  6 at 162:16-163:17.

         18.     The tact teams had no physical exam requirement and no interview process to vet

  new members. ECF 481-7 at 20:19-21:12. Forty hours of training are required, including training

  to conduct shakedowns in a “systematic fashion,” but there were no written training materials and

  no exam. Id. at 17:12-18:2; ECF 481-10:9-24.

         19.     Plaintiffs’ experts have offered that these features of the tact teams invited abusive

  behavior like that seen during the shakedowns at issue in this case.

         20.     Plaintiff expert Patrick Hurley offers the opinion that the colloquial use of the

  moniker “Orange Crush” to describe the unit is indicative of a cultural expectation that accepts

  and even encourages its members to engage in abusive and violent behavior outside the normal

  rules governing prisoner-staff interactions. Ex. C at 12-15. Mr. Hurley further opines that

  “[a]gencies need to be vigilant and responsive to names that staff use to label their attitudes,

  actions, and intentions, especially when those names are attached to agency sanctioned teams.” Id.




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  at 13. Names like “Orange Crush” “undermine the efficacy of the search mission by encouraging

  inappropriate conduct by officers under the anonymity of these names and the aggressive attitude

  they connote.” Id.

          21.    Mr. Patrick Hurley offers the opinion that this lack of identifying insignia was

  “inconsistent with generally accepted correctional practice and sets the stage for inappropriate staff

  behavior because there is a lack of accountability.” Id. It is an industry standard to have identifying

  insignia because it establishes officers’ credibility and promotes accountability by allowing

  abusive officers to be identified after the fact. Id. Mr. Hurley offers the opinion that “[b]y design,

  the failure to provide identification opens the door for systemic abuse which then cannot or will

  not be addressed due to the inability to identify participants.” Id. “These factors also impact

  disciplinary sanctions because those sanctions most likely will be nullified based upon the inability

  to establish the identity of the staff member.” Id. “IDOC’s practice of deploying a Tactical Team

  that has no identifying marks is not consistent with accepted practice and is not consistent with an

  intent to be transparent and any intent to have accountability.” Id.

          22.    Mr. Pacholke notes that the anonymity was relevant in the searches at issue in this

  case, because using “off-site tactical teams . . . to conduct strip-searches, mass movement, and cell

  searches to make it less likely that prisoners would know who to grieve for their conduct and

  missing or damaged cell property.” Ex. A at 62. Based on the offender grievances in this case,

  almost no one was identified for any staff misconduct cases,” making anonymous abuse that much

  easier. Id.




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       Execution of the Shakedowns: Planning Between Defendants and Oral Briefings
                     Not Written Directives, Direct Tact Team Operations

         23.     Each prison’s warden and assistant warden of operations are responsible for the tact

  team and their conduct at their respective prison. ECF 481-18 at 105:12-20; ECF 481-19 at 179:23-

  180:5; ECF 481-20 at 17:4-16; ECF 481-28 at 51:2-16.

         24.     The 2014 facility tact commanders, assistant tact commanders, wardens, and

  assistant wardens at each facility are listed below. These officials supervised tact teams of

  approximately 20-40 members each. ECF 481-75; ECF 481-76; ECF 481-77. All are Defendants

  against whom this Court has certified the class in this action:

   Menard                   Illinois River           Big Muddy               Lawrence



   -   Jerry Witthoft       -   Robert Arnett        -   David Hermetz       -   Michael Gilreath
       (tact commander)         (tact commander)         (tact commander)        (tact commander)

   -   Frank Eovaldi        -   Brian Piper          -   Chris White         -   Timothy
       (assistant tact          (assistant tact          (assistant tact         McAllister
       commander)               commander)               commander)              (assistant tact
                                                                                 commander)
   -   Kim Butler           -   Greg Gossett         -   Ken Finney
       (Warden)                 (Warden)                 (assistant tact     -   Stephen Duncan
                                                         commander)              (Warden)
   -   Alex Jones        -      Stephanie
       (Assistant Warden        Dorethy           -      Zachary             -   Richard Moore
       of Operations)           (Assistant Warden        Roeckeman               (Assistant Warden
                                of Operations)           (Warden)                of Operations)

                                                     -   Robert Craig
                                                         (Assistant Warden
                                                         of Operations)


         25.     After their initial conversations about the shakedowns, Yurkovich and Atchison

  had a series of “very in-depth conversations” between them, White, and the wardens of the

  facilities they planned to shake down. ECF 481-6 at 47:21-48:7, 48:23-49:8; ECF 481-69 at 2.



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  White, who was the Statewide Tact Commander, attended a meeting in Springfield with either

  Yurkovich or Atchison, where White learned about the plan to conduct the shakedowns. ECF 481-

  7 at 71:5-72:11. McAllister, who was the Southern Regional Tact Commander, testified that he

  was not involved in the decision to conduct facility-wide shakedowns, but he was involved in

  planning their execution once the decision was made to conduct the shakedowns. ECF 481-17 at

  114:23-115:14.

         26.     McAllister and White’s involvement did not end there. McAllister and White were

  responsible for creating written “operations orders” using old IDOC templates. ECF 481-17 at

  85:19-86:15; ECF 481-7 at 70:1-5; ECF 481-6 at 54:3-7, 54:20-55:16; ECF 481-17 at 123:3-124:8.

  These orders outlined the schedule and staffing needs for the shakedowns. ECF 481-64 at 2. These

  statewide operations require approval and supervision by senior members of the IDOC

  administration, including Yurkovich, Atchison, and Godinez. ECF 481-6 at 33:12-22, 46:11-15;

  ECF 481-16 at 100:5-16; ECF 481-72 at 2.

         27.     These written orders were not distributed to the facility tactical team commanders,

  assistant commanders, or any tact team members, however. ECF 481-17 at 132:5-136:6; ECF 481-

  8 at 75:3-8; ECF 481-20 at 66:8-13; Ex. A at 21. Only the warden and assistant warden of each

  facility received a copy of the written orders. ECF 481-17 at 132:5-136:6. These written orders

  omitted several key details about the plan, including how the shakedowns would be performed.

  ECF 481-66 at 2-5. These orders list high-level, generalized “objectives” for the searches that

  stated what the searches would include, rather than specifics about how the searches should be

  conducted. Id. at 1, 2 (“The inmates from North Cellhouse will be strip searched, restrained behind

  the back, and escorted to the Chapel by Tactical Staff & then interviewed by Intel/I.A. Staff.”).




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          28.      Instead, the details about how the shakedowns would be performed were

  communicated orally. See ECF 481-7 at 36:23-37:6 (describing how tact team would be orally

  informed of search duties); ECF 481-8 at 70:12-71:11 (same); ECF 481-10 at 71:3-74:11, 101:4-

  13 (same); ECF 481-11 at 65:14-67:8 (same); ECF 481-14 at 40:6-41:21 (same); ECF 481-15 at

  73:7-169 (same). White and/or McAllister conducted the initial commanders’ oral briefing. In

  these briefings, McAllister or White discussed the shakedown plan with facility tact commanders,

  including the specifics of how the shakedown operation was to be conducted. ECF 481-10 at 71:3-

  73:16, 75:20-23; ECF 481-7 at 37:4-6. McAllister or White laid out “how you would perform your

  duties of the day,” “what [prisoners] could wear out of the cell,” “[h]ow you [were] to cuff,” and

  “[h]ow they were to . . . conduct their self, how to handle the inmates,” among others. ECF 481-

  11 at 71:3-73:16. The facility’s Warden and Assistant Warden of Operations also attended these

  briefings. ECF 481-17 at 139:23-140:8; ECF 481-7 at 36:23-37:24; ECF 481-18 at 56:8-57:9; ECF

  481-19 at 131:6-132:2.

          29.      Facility tact commanders and assistant commanders then met with the rest of their

  teams, where they would discuss the shakedown plan with each member of the tact team, relaying

  the instructions they had been given by White and/or McAllister. ECF 481-11 at 65:14-67:8; ECF

  481-10 at 73:23-74:11, 101:4-13; ECF 481-15 at 73:1-6; ECF 481-14 at 40:6-41:10. Finally,

  immediately before they began marching toward the cellhouse to begin the shakedown, the entire

  group    would     convene    for   a   mass   group    briefing,   delivered   by   the   prison’s

  Warden and McAllister or White, reiterating the shakedown plan and its objectives. ECF 481-10

  at 75:8-76:10; ECF 481-14 at 40:6-41:10; ECF 481-7 at 36:23-37:14. Nothing was distributed in

  writing during or after the oral briefings. Id.; see also ECF 481-17 at 132:5-136:6; ECF 481-8 at

  75:3-8; ECF 481-20 at 66:8-13.




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         30.     The oral instructions contained instructions on how to conduct the shakedowns that

  are wholly absent from the written operations orders. See ECF 481-66; ECF 481-7 at 84:1-86:5;

  ECF 481-23 at 127:5-131:8. For example, the written orders provide no direction as to the

  procedure for entering a facility’s cellhouse during the shakedowns. See generally ECF 481-66.

  Their plan (communicated orally) was for tact team members to march in, “banging and crashing”

  their batons on the bars of the cells. See ECF 481-66; ECF 481-7 at 141:4-20; ECF 481-23 at

  140:19-143:9. The operations orders also do not detail how prisoners would be strip searched, or

  describe the line movement formation that would be used to transport prisoners from their

  cellhouse to the area where they would be held while their cells were searched. See generally ECF

  481-66. These aspects of their plan were only communicated to the tact team orally. Id.: see ECF

  481-66.

         31.     Similarly, the written operations orders stated that prisoners could put their

  underwear back on after a strip search. ECF 481-66. But Defendants admitted that in the verbal

  briefing, they told tactical team members prisoners could not wear underwear during the

  shakedowns. ECF 642-1 at 162:11-168:13.

         32.     Additionally, the written operations orders repeatedly stated that prisoners would

  be handcuffed “behind the back.” ECF 481-66. There is no discussion or mention of any alternative

  form of cuffing in the written orders. Id. As detailed below, Plaintiffs have substantial evidence

  indicating that prisoners were restrained behind their backs, even when they had permits that

  specifically required alternative handcuffing (like front cuffing or waist chains). See infra PSOF

  56-59. But during litigation, Defendants have argued that this part of the operations orders was

  inaccurate and alternative cuffing permits were honored during the shakedowns. ECF 481-6 at

  130:12-131:7; ECF 481-7 at 82:16-87:2; ECF 481-16 at 261:3-264:1. Notably, several of the




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  Defendants, including Yurkovich, Gossett, Finney, and Arnett could not recount a single instance

  where a prisoner was handcuffed in front. ECF 482-14 at 26.

         33.     Existing Administrative Directives also provided that prisoners in line movement

  were to travel “at a uniform pace at an arm’s length distance between each other.” Ex. D. As

  Plaintiff expert Patrick Hurley notes and as documented in photographs infra, the line movement

  during the shakedowns did not comply with this directive, and instead prisoners were pressed up

  against one another. Ex. C at 20.

         34.     As Mr. Pacholke and Pat Hurley (who is also an expert in correctional

  administration and operations) have opined, “[w]ritten and approved operation orders are

  worthless if they are not shared with those who are executing them and if verbal directives differ

  from those in the operations orders.” Id at 25; Ex. A at 20-22.

                          Yurkovich, Atchison, White, and McAllister
                        Execute Their Common Plan in Uniform Fashion

         35.     In addition to their roles forming the plan and communicating it to tact team

  members, McAllister and White also supervised the 2014 shakedowns while they were underway

  to ensure that they were conducted in uniform fashion. McAllister and/or White were present

  during each day of each shakedown and were responsible for supervising the tact team members

  during the shakedown. ECF 481-6 at 50:6-12; ECF 481-17 at 188:4-13. White was the primary

  supervisor of the shakedowns at Menard and Illinois River. ECF 481-17 at 222:9-21. McAllister

  was the primary supervisor at Big Muddy and Lawrence. Id.; ECF 481-17 at 187:4-6, 258:14-

  261:5, 264:15-265:4. Facility tact commanders and assistant commanders reported to McAllister

  and/or White, who would then ensure that the uniform plan was being carried out across the

  facilities. ECF 481-14 at 62:1-14; ECF 481-11 at 123:18-124:10; ECF 481-10 at 107:22-109:2;

  ECF 481-8 at 80:15-81:22, 86:9-87:8, 89:7-22; ECF 481-75 at ¶ 4; ECF 481-7 at 79:10-19; ECF


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  481-11 at 116:7-120:11, 122:13-24. Each facility Warden attended the shakedowns because they

  understood that they were responsible for the conduct of staff at the prison. ECF 481-18 at 105:12-

  20; ECF 481-19 at 179:23-180:5; ECF 481-20 at 17:4-16.

         36.      Yurkovich and Atchison, meanwhile, had daily conversations with on-the-ground

  staff. ECF 481-6 at 82:5-18; ECF 481-16 at 178:5-179:5. As White’s direct supervisor, Atchison

  had regular in-person meetings, phone calls, and email communications with White regarding the

  shakedowns. ECF 481-6 at 43:10-44:7, 44:16-24; ECF 481-16 at 251:8-20.

         37.      Yurkovich and Atchison’s close supervision of the shakedowns ensured that there

  was no deviation from the uniform plan developed by Defendants. Defendants consistently

  testified that they saw no deviation from the uniform plan during the shakedowns. ECF 481-10 at

  107:17-21; ECF 481-14 at 48:15-49:1, 61:14-62:14; ECF 481-15 at 129:4-11; ECF 481-17 at

  281:18-282:10; ECF 481-19 at 184:5-185:15; ECF 481-26 at 65:10-18; ECF 481-82 at 6; ECF

  481-84 at 6. Tact members similarly testified that no member acted contrary to the uniform plan

  communicated to them orally during the pre-shakedown briefings. ECF 481-48; ECF 481-49; ECF

  481-50; see also ECF 481-88 at 2-17 (spreadsheet summarizing results of 300 tact team member

  survey responses).

               Shakedowns Uniformly Use Tactics Designed to Harass and Intimidate

         38.      Class members across Menard, Illinois River, Big Muddy, and Lawrence detailed

  the same complaints about the 2014 shakedowns across their grievances and throughout their

  depositions in this case. Plaintiff’s expert Patrick Hurley has gathered and summarized deposition

  and discovery responses of dozens of class members across the multiple steps of the shakedowns

  across the different facilities where the shakedowns occurred, Ex. C at 6-10, and offers the opinion

  that “the inmates recounted strikingly similar conduct by Orange Crush across facilities and




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  throughout their shakedowns” which “strongly indicates the truth of the class members’ recounting

  of the conduct by Orange Crush.” Id. at 7.

         39.     Intimidating Entry. Numerous class members report loud, intimidating entry in

  which tact team members yelled and banged on cells with batons. See ECF 481-29 at 45:18-48:13;

  ECF 481-30 at 38:16-39:11; ECF 481-31 at 43:10-22; ECF 481-33 at 68:8-12, 69:9-21; ECF 481-

  32 at 41:4-45:7; ECF 481-34 at 66:10-68:24; ECF 481-35 at 35:23-36:1; ECF 481-36 at 30:1-10,

  50:20-51:1; ECF 481-37 at 41:23-42:9; ECF 481-38 at 21:13-18; ECF 481-39 at 13:11-15; ECF

  481-40 at 77:1-5, 81:17-20; ECF 481-41 at 24:10-13, 27:2-5, 28:8-10; ECF 481-42 at 32:18-37:14;

  ECF 481-43 at 26:2-3; ECF 481-44 at 33:12-34:19; ECF 481-45 at 42:8-20; ECF 481-46 at 34:12-

  14; ECF 481-47 at 55:16-56:2; ECF 481 at 10 n.4 (citing declarations submitted at ECF 481-51).

         40.     As discussed above, Defendants admit that pursuant to their plan, tact team

  members were instructed to march in lockstep or stomp into the cellhouse and begin banging and

  crashing their batons on the cells. ECF 481-23 at 206:15-23; see also DSOF ¶ 41.

         41.     Multiple Defendants made statements that the noise was a “psychological thing”

  designed to “get [the prisoners] ready.” See ECF 481-8 at 138, 139; ECF 481-90 at 139; ECF 481-

  19 at 219, 220; ECF 491-14 at 66.

         42.     Plaintiffs’ experts have offered the opinion that a loud entry of this nature would

  serve no legitimate penological purpose and would be counterproductive to the basic goal of the

  shakedowns, since the loud warning of the search would give a prisoner with contraband more

  time to hide it. If the goal of this practice was to catch prisoners off-guard so they do not have the

  opportunity to dispose of contraband before a shakedown search, “then the practice of stomping,

  yelling, and clanging batons is not just intimidation, it’s counterproductive to Defendants’ alleged

  goal.” Ex. A at 23.




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          43.     Plaintiffs’ experts have offered the opinion that the practice is unheard of in the

  corrections field, even in tactical responses to large scale disturbances where a show of force is

  necessary.” Id. “Allowing this ridiculous practice is condoning escalation, intimidation, and

  unprofessionalism.” Id. And “It communicates to tactical team members that further belligerent

  and abusive staff behavior is not only acceptable but encouraged ….” Id. at 23-24.

          44.     Plaintiffs’ experts have offered the opinion that the purpose of such conduct, as

  widely recognized in the field of correctional administration, is to intimidate and catch prisoners

  off-guard. Ex. A at 22.

          45.     “Grievances and depositions showed that shakedowns began in the same fashion–

  with yelling and banging on the bars of the inmates’ cells.” Ex. C at 7. These techniques were

  meant to “inflict pain, intimidate, belittle, and humiliate” the prisoners. Id. at 19. “This approach

  escalated tension between staff and prisoners, made little sense and is simply bad security.” Id.

          46.     Tact team members claimed that the noise was to “wake everybody up and get them

  ready” as “some psychological thing.” Id. But those explanations are simply “a refined way of

  describing intimidation.” Id. at 23. “If their primary goal is to recover contraband and they are

  trying to maintain an element of surprise so that prisoners will not dispose of contraband before

  they are present at their cells, then the practice of stomping, yelling, and clanging batons is not just

  intimidation, it’s counterproductive to Defendants’ alleged goal.” Id.

          47.     From a supervisory standpoint, “[a]llowing this ridiculous practice is condoning

  escalation, intimidation, and unprofessionalism. It communicates to tactical team members that

  further belligerent and abusive staff behavior is not only acceptable but encouraged, especially

  given that these tactical operations were for ‘spring cleaning’ rather than a security threat or similar

  incident(s).” Id. at 23-24.




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          48.     “There is no need for Orange Crush’s tactics [loud entry]. If the inmates are not

  awake, they soon will be, and a simple verbal command will accomplish that task and should be

  the first step in the process. For inmates who are locked in the cells presenting no threat, this tactic

  only serves to raise fears among the inmate population and to create tensions which are

  counterproductive to a search mission, which should be to conduct a search in a safe, orderly

  manner that does not humiliate prisoners and does not unnecessarily raise tensions in what is

  already a stressful setting.” Ex. C at 11. In fact, the use of batons to strike cell bars was a violation

  of IDOC’s Administrative Directive, which permits use of batons only when less serious methods

  of regaining control of a facility have been unsuccessful. Ex. H; Ex. C at 11-12.

          49.     According to the current IDOC Statewide Tact Commander Zach Sarver, the IDOC

  now prohibits tact team members from entering cellhouses in this way while conducting facility-

  wide searches. ECF 642-11 at 82:23-83:11. Sarver testified that this decision was made because

  the best practice in correctional operations is to knock on the door with the baton. Id. at 87:1-11.

          50.     Reverse Strip Searches. Pursuant to Defendants’ plan, after entering the cellhouse,

  tact team members ordered prisoners to conduct reverse strip searches on themselves immediately

  behind the bars as tact team members watched. See ECF 481-44 at 36:16-23; ECF 481-47 at 64:1-

  6; ECF 481-42 at 41:4-8; ECF 481-41 at 31:9-18; ECF 481-34 at 72:1-4 Specifically, the tact team

  members ordered prisoners to strip, and then to manipulate their genitals and spread their buttocks

  before putting their hands in their mouths to widen it and moving their tongue. See ECF 481-31 at

  56:19-57:5; ECF 481-33 at 73:1-74:24; ECF 481-32 at 58:8-12; ECF 481-29 at 45:18-46:3, 51:1-

  54:17; ECF 481-30 at 42:14-42:23; ECF 481-34 at 71:18-25; ECF 481-36 at 30:4-10, 54:14-24;

  74:20-75:11; ECF 481-37 at 47:14-48:15; ECF 481-38 at 26:4-16; ECF 481-39 at 13:9-16, 14:4-

  11, 22:19-23:15; ECF 481-40 at 93:17-22, 96:2-5, 110:11-18; ECF 481-41 at 30:13-31:17; ECF




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  481-42 at 37:15-46:1; ECF 481-43 at 29:13-18, 30:10-12; ECF 481-44 at 36:14-37:3; ECF 481-45

  at 49:1-50:6; ECF 481-46 at 40:23-41:15, 84:13-19; ECF 481-47 at 63:19-64:11; ECF 481 at 11

  n.6 (citing declarations submitted at ECF 481-51).

         51.     Officers threatened class members if they did not immediately comply with the strip

  search orders. ECF 481-31 at 55:4-7; ECF 481-30 at 41:13-20; ECF 481-42 at 38:18-20. For

  example, one class member, a paraplegic man, described being unable to remove his pants during

  his strip search, “so the tactical team member snatched his pants off and demanded that he get up

  and raise his genitals. ECF 481-35 at 22:5-16. He told the tact team member that he could not do

  that, and the officer grabbed him, causing him to fall. Id. During the search, his adult diaper was

  removed, and he had to later sit in the holding area in his own urine with an overflowing colostomy

  bag. Id. at 43:2-9, 61:1-4.

         52.     The fact that multiple prisoners reported reverse strip searches “is significant

  because [conducting strip searches] is a routine task that staff are trained to do from head to toe.

  To perform these in reverse would have to be deliberate and there could be no plausible purpose

  other than to humiliate and assert dominance.” Ex. A at 24. Even Defendants have admitted there

  is no legitimate penological purpose for conducting strip searches in this fashion. ECF 642-11 at

  126:1-11.

         53.     Dressing. Defendants have admitted that, pursuant to their plan, while the strip

  searches were occurring, tact team members ordered prisoners to hand them their clothing

  (including their underwear) for a close, manual inspection and search. ECF 642-11 at 121:16-25,

  122:1-5. After the search, and pursuant to Defendants’ plan communicated at the oral briefing,

  prisoners were told that they must wear their “prison blues” but could not wear underwear. See

  ECF 481-31 at 56:19-57:5; ECF 481-30 at 44:15-45:3; ECF 481-36 at 72:8-73:6; ECF 481-37 at




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  47:14-48:15; ECF 481-38 at 27:3-13; ECF 481-39 at 14:24-15:1, 25:7-8; ECF 481-40 at 111:18-

  20; ECF 481-41 at 37:4-7; ECF 481-42 at 37:15-46:1; ECF 481-43 at 61:2-9; ECF 481-44 at 36:14-

  37:3; ECF 481-45 at 52:15-19; ECF 481-46 at 42:4-22, 83:17-19; ECF 481-47 at 133:14-21; ECF

  481 at 11 n.7 (citing declarations submitted at ECF 481-51); ECF 642-11 at 98:18-25, 99:1-15.

  This was another practice “designed to humiliate.” Ex. A at 25.

         54.     As discussed above, the written operations orders directed that prisoners could wear

  underwear, and this aspect of the plan was thus admittedly only part of the oral briefing. ECF 481-

  66 at 4, 8, 12, 17, 20, 24, 28, 32, 36, 40, 44, 48, 52, 56. Some of the Defendants have testified that

  this order was put into place to avoid contraband being placed in the underwear, but a reasonable

  jury could conclude that, given the fact that a prisoner’s underwear (along with his “prison blues”)

  were closely searched by each tact team member, this aspect of the plan was designed to humiliate.

  Ex. A at 25.

         55.     Statewide Tact Commander Sarver testified that the IDOC now allows prisoners to

  wear underwear, even during facility-wide searches. ECF 642-11 at 98:18-22. Sarver further

  testified that the IDOC is able to conduct effective facility-wide searches, even despite the fact that

  prisoners are now allowed to wear underwear during these searches. ECF 642-11 at 99:21-23.

         56.     Handcuffing. As part of the plan, class members were handcuffed in a needlessly

  painful and uncomfortable manner with their hands behind their backs and palms facing out. See

  ECF 481-31 at 60:20-61:6; ECF 481-33 at 80:7-21; ECF 481-32 at 63:23-64:01; ECF 481-29 at

  55:11-64:10; ECF 481-30 at 46:15-19; ECF 481-34 at 77:1-2, 77:10-11; ECF 481-35 at 21:21-

  23:13, 45:1-53:24; ECF 481-36 at 77:4-78:1; ECF 481-37 at 51:3-8, 51:22-52:18; ECF 481-38 at

  28:3-9; ECF 481-39 at 15:9-13; ECF 481-40 at 115:17-20, 116:5-117:6; ECF 481-41 at 32:11-13,

  38:17-20; ECF 481-42 at 45:5-50:19; ECF 481-43 at 33:9-12; ECF 481-44 at 36:14-37:3; ECF




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  481-45 at 53:24-54:16, 101:15-103:2; ECF 481-46 at 43:2-44:21, 43:11-44:9; ECF 481-47 at 66:6-

  19; ECF 481 at 12 n.8 (citing declarations submitted at ECF 481-51). Multiple Defendants testified

  to this same fact, stating that this was a cuffing position typically only used to escort a prisoner to

  segregation. Ex. C at 20 (describing standard practice in corrections field).

         57.     As Plaintiff’s expert, Mr. Pacholke, explained: “Cuffing people behind their back,

  palms out, thumbs up is a maximum-security cuffing technique which is commonly only used for

  movement at that security level.” Ex. A at 27. Notably, three of the four prisons at issue in this

  case (Illinois River, Big Muddy, and Lawrence) were not maximum security at the time of the

  2014 shakedowns. ECF 481-19 at 150:7-19; ECF 481-20 at 12:13-15; ECF 481-26 at 25:23-26:1.

  Mr. Pacholke further explained that this cuffing technique “can be highly discomforting and

  painful, especially if kept in this position for prolonged periods of time, and especially for people

  in wheelchairs, people with injuries to their shoulders, elbows, or wrists, and larger people.” Ex.

  A at 27.

         58.     The IDOC’s policies provide that medical staff may issue “cuffing permits,” which

  require correctional staff to handcuff prisoners in a certain fashion–i.e., through “front cuffs” or

  “waist chains”–if their medical needs require it. ECF 642-11 at 124:20-25, 125:1-2. But the 2014

  shakedown plan was to ignore these handcuffing permits, requiring all tact team staff to handcuff

  class members in the same fashion, regardless of any cuffing permits. ECF 481-66 at 3 et seq.;

  ECF 481-33 at 78:16-81:18; ECF 481-34 at 77:10-11; ECF 481-42 at 45:5-50:19.

         59.     Mr. Pacholke opined that this aspect of the plan–to handcuff prisoners behind their

  back, with palms out, regardless of cuffing status–“was . . . completely unnecessary.” Ex. A at 27.

  Yet, this painful position was employed for extended periods of time–i.e., for hours–during these

  shakedowns. Ex. C at 20.




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         60.       Movement. In accordance with the plan, once prisoners were cuffed, they were told

  to line up “nuts to butts,” or words to that effect. See ECF 481-36 at 44:22-46:15, 62:19-21, 85:9-

  23, 127:18-128:8, 130:11-15; ECF 481-38 at 62:17-63:4; ECF 481-34 at 62:25-64:25; ECF 481-

  32 at 34:21-36:7, 65:12-67:14, 71:17-72:7, 83:3-9; ECF 481-40 at 71:12-21, 209:11-21; ECF 481-

  41 at 42:3-10, 49:7-51:4, 61:23-62:9, 73:14-23, 76:3-12, 81:24-82:7; ECF 481-42 at 30:24-31:17,

  63:3-7, 66:6-14, 72:6-9, 82:12-17; ECF 481-44 at 32:5-17, 43:11-13, 44:14-21, 46:20-22, 48:13-

  22, 65:14-66:1; ECF 481-45 at 67:13-68:10, 83:21-84:8; ECF 481-31 at 39:8-40:6, 74:10-75:11;

  ECF 481-30 at 50:14-51:9, 52:18-22, 55:24-56:5, 73:5-22; ECF 481-37 at 61:22-24, 64:13-22,

  66:12-67:6, 71:16-21; ECF 481-33 at 62:1-63:21; ECF 481-35 at 37:11-23, 40:16-24; ECF 481-

  51 at 138. Class members were marched in a formation so close with prisoners in front and behind

  that their genitals were forced to make physical contact with the prisoner in front of them and the

  genitals of the prisoner behind them. See ECF 481-31 at 74:10-18, 147:2-16; ECF 481-33 at 62:1-

  67:9, 92:1-97:15; ECF 481-29 at 68:7-79:14; ECF 481-30 at 50:14-51:13, 55:19-56:5; ECF 481-

  36 at 44:22-45:23; 88:18-89:21, 93:3-94:24; ECF 481-37 at 61:18-62:2; 64:13-22, 69:23-70:24;

  ECF 481-38 at 33:2-12, 62:17-63:12; ECF 481-40 at 130:6-131:7, 138:1-4, 144:4-16; ECF 481-

  41 at 42:4-7, 44:5-23, 45:21-46:3, 49:1-19, 62:4-9, 73:17-23, 76:5-77:5; ECF 481-42 at 63:3-

  71:18; ECF 481-43 at 35:9-13, 38:10-13, 39:9-20, 40:2-7; ECF 481-44 at 46:20-50:1, 77:24-78:10;

  ECF 481-45 at 67:13-68:14, 70:2-71:6; ECF 481-46 at 56:2-59:5; ECF 481-47 at 115:7-120:3;

  ECF 481 at 12 n.9 (citing declarations submitted at ECF 481-51). While “nuts to butts” may be a

  colloquial term in the military, a more apt description for the shakedown mass movements was

  “nuts to hands,” which is what class members described. ECF 481-19 at 222:3-225:21; ECF 481-

  27 at 37:4-23.




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         61.     “Here again, there is no security or any other justification for this practice. It is

  meant to humiliate and abuse prisoners and considering the potential for people to trip and fall

  while being forced to move in this position.” Ex. A at 29.

         62.     They were marched single file outside in two columns with tact team members in

  full gear flanking them on all sides. ECF 481-19 at 222:3-225:21; ECF 481-27 at 37:4-23.

         63.     Class members were aware that noncompliance would be met with violence.

  Several class members testified that during line movement (which other class members could hear

  and/or see), tact team members pushed and shoved them so they were in contact with other

  prisoners. ECF 481-31 at 74:10-18, 86:20-89:1, 90:2-94:11, 110:14-112:15; ECF 481-33 at 92:1-

  97:15, 104:14-109:1, 110:22-112:16; ECF 481-29 at 69:2-9; ECF 481-30 at 51:23-52:11, 55:19-

  56:5; ECF 481-34 at 83:15-85:6; ECF 481-35 at 21:21-23:13, 25:4-26:13; ECF 481-36 at 85:13-

  86:3; ECF 481-37 at 34:8-17; 60:18-23, 68:24-69:22; ECF 481-38 at 33:13-35:3, 42:14-48:14;

  ECF 481-40 at 113:2-22, 115:17-20, 120:9-10, 129:16-17, 157:2-158:10; ECF 481-41 at 39:24-

  40:8, 46:21-47:5, 49:1-19, 51:1-11, 54:10-20, 54:4-57:3, 57:6-59:1, 59:2-24, 60:1-61:12, 71:22-

  72:1, 73:17-23, 74:9-76:2, 76:5-77:5; ECF 481-42 at 51:15-61:10, 71:19-81:22; ECF 481-43 at

  35:21-24, 35:9-13, 41:20-42:12; ECF 481-44 at 46:20-50:1, 50:7-56:11; ECF 481-45 at 65:21-

  66:1; 69:4-70:1, 75:4-19; ECF 481-46 at 55:19-56:8, 56:12-24; ECF 481-47 at 73:5-24, 75:21-

  76:17, 82:21-83:4; ECF 481 at 13 n.11 (citing declarations submitted at ECF 481-51).

         64.     Numerous class members reported being pushed, punched, kneed, poked with

  batons, and subjected to verbal abuse by tact team members Ex. A at 58 (collecting accounts of

  abuse). Other class members could hear and/or see this abuse taking place. Id. For example,

  Plaintiff James Dunmore was forced to keep his head down with his face “literally in [the other

  prisoner’s] ass.” ECF 481-34 at 84. For example, Plaintiff Jeffrey Miller testified that an officer




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  came up behind him and pushed his head forcefully into the prisoner in front of him. ECF 481-45

  at 72. Plaintiff Sergio Cortes described being pushed and manhandled by officers to get inmates

  in line and out of the cell house.” ECF 481-38 at 30, 42. Plaintiff Zarchary Watts, who is disabled,

  testified, “I got a spinal injury, and I keep looking up, and they said the same thing, like ‘Put your

  fucking head down! We didn’t tell you to put your head up.’” “Multiple inmates described how

  their genitals were touched by the hands and/or butt of the inmate in front of them, and vice versa.,

  because of the ‘nuts to butts’ arrangement.” See generally Ex. C at 9 (collecting testimony).

         65.     Plaintiff expert Patrick Hurley offers that forcing prisoners to keep their heads

  down and walk for extended periods of time with their hands cuffed behind their backs had no

  valid penological purpose beyond acting as a form of corporal punishment. Ex. A at 20. Mr. Hurley

  notes that these instructions increases the likelihood of falls and of prisoners bumping into each

  other, and significantly reduces their ability to follow instructions because prisoners cannot see

  where they are going. Ex. C at 17.

         66.     Prisoners “described the consequences they faced for stepping out of line.” Id. at 9

  (gathering prisoner testimony). See ECF 481-40 at 131 (“[M]y head was shoved back down, hit in

  the back of the neck, and my head slammed back down.”); id. at 138 (“I fell out of formation once

  because I was struck on the back of my neck and my head was shoved into my chest. When I filed

  into formation I’m shoved back in formation with a stick in my side.”); ECF 481-37 at 60 (“[O]nce

  we left the cell house, I looked up. They slammed my head in front of the person in front.”).

  Officers told him to “keep [his] fucking head down.” ECF 481-40 at 119. James Dunmore, who is

  wheelchair bound, was hit with a baton for “refusing to deliberately put [his] face in [another

  inmate’s] ass.” ECF 481-34 at 84. Glenn Verser described an incident where an officer “snatched”

  the inmate in front of him and “flipped him, wrestled him to the ground, and told him, if I tell you




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  to put your head down again, you’re not going to like it.” ECF 481-34 33 at 119; ECF 481-45 at

  72 (“[T]his officer . . . came from behind me and pushed my head very hard into this guy’s back.”);

  ECF 481-38 at 30 (“They were pushing us so we would walk quickly out of the cell house.”), 42

  (“Q. Were you touched by any officer . . . ? A. Struck? Yes. . . .”), id. At 76-78 (“Q. How close to

  the inmate in front of you was your pelvic region or genital region? A. Less than an inch probably.

  . . . Q. Is it possible that your genital region came into contact with . . . the inmate in front of you

  in line during those stops and starts [in the line movement]? . . . A. I would say yeah, when I was

  pushed probably.”).

          67.     There is photographic evidence of this abusive line movement as well. This

  photographs is drawn from Mr. Pacholke’s report, showing close line movement:




  Ex. A at 19; Ex. E. Mr. Hurley has annotated this photograph, highlighting that the line movement

  was not used simply to escort but as an opportunity to harass:




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  Ex. C at 21; Ex. F.

           68.   One of the IDOC’s Rule 30(b)(6) designees testified that there was no justification

  for such a practice, as, pursuant to IDOC policy, large groups of prisoners (as many as 90) are

  routinely escorted by just two correctional officers, and they are typically uncuffed and allowed to

  look around. Ex. G at 57:13-58:3. This practice was similarly against IDOC’s own directives,

  which required prisoners be moved at an arm’s distance in a uniform pace. Ex. D; see also Ex. C

  at 20.

           69.   Nothing about the shakedowns required the tact teams’ approach. “[N]othing

  magical or extreme happens to inmates when a facility search occurs. They do not suddenly

  become delusional and think that they can orchestrate some significant incident when additional

  resources are at the facility and those resources are tactical teams. Inmates understand that facility

  searches are necessary. …. They understand that being cuffed makes them more vulnerable, so it


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  is clear they would be more, not less, reluctant to challenge these tactical team members. … These

  realities make [the state’s] claim that inmates need to look down to avoid inmates attempting to

  escape or assault is completely unreasonable and outside of accepted correctional practices.” Ex.

  A at 18.

         70.     Mr. Pacholke opined that there was no legitimate penological justification

  recognized within the field of corrections to conduct line movement in this way, and thus it could

  only have been “meant to humiliate and abuse prisoners and considering the potential for people

  to trip and fall while being forced to move in this position, it is also just plain stupid.” Id. at 29.

  Prisoners were forced to walk with “blind faith” that they would not stumble, Ex. C at 21, which

  Mr. Hurley opined was irresponsible given that class members were also restrained behind the

  back.” Id. Like Mr. Pacholke, Mr. Hurley opined that there was no legitimate penological reason

  to march prisoners in this manner. Id. at 22.

         71.     Holding. Nearly all class members were made to remain handcuffed in painful

  positions for unnecessarily long periods of time, from one to four hours. See ECF 481-31 at 102:16-

  104:11; ECF 481-29 at 83:8-94:3; ECF 481-34 at 89:13-99:22; ECF 481-35 at 61:22-63:17; ECF

  481-36 at 121:20-23; ECF 481-37 at 78:13-21; ECF 481-38 at 35:13-22; ECF 481-40 at 165:13-

  18; ECF 481-41 at 70:18-21; ECF 481-42 at 71:19-81:22; ECF 481-43 at 46:14-18; ECF 481-44

  at 56:18-65:2; ECF 481-45 at 79:6-9; ECF 481-46 61:21-23; ECF 481-47 at 92:7-10; ECF 481 at

  14 n.12 (citing declarations submitted at ECF 481-51).

         72.     Defendants offered differing accounts of the conditions under which prisoners were

  held, but those accounts were consistent in that they reported that prisoners remained cuffed,

  standing for hours at a time, facing walls, and unable to speak. See ECF 481-7 at 82-83, 92; ECF




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  481-17 at 241; ECF 481-6 at 75; ECF 481-9 at 86-90. See also Ex. C at 23 (gathering defense

  testimony).

         73.     Many prisoners were made to stand for the duration of their time in the holding

  area. The practice was to keep prisoners standing in holding areas but, in some facilities, tact team

  members had to start seating class members because their legs were giving out and/or they were

  losing consciousness. ECF 481-12 at 101:4-102:14, 112:9-113:23.

         74.     Prisoners at Menard were ordered to stand with their knees bent to avoid losing

  consciousness. At Illinois River, prisoners reported that they were losing feeling in their hands

  while waiting due to the extremely tight handcuffs. ECF 481-10 at 113:1-19. Guards there checked

  that prisoners’ arms “weren’t turning blue” and put prisoners on their knees if they could no longer

  stand. Id. At Lawrence, prisoners were held for approximately 1.5 hours and not permitted to use

  the bathroom while waiting in the holding area. ECF 481-23 at 166:6-8; ECF 481-22 at 99:4-9.

  At Big Muddy, prisoners were allowed to sit if they had physical issues, and nurses were stationed

  in the holding areas because it was anticipated prisoners would begin “passing out or getting sick.”

  ECF 481-22 at 90:8-16, 161:4-162:4There were multiple reports that prisoners could only use the

  bathroom if they provided medical documentation. ECF 481-12 at 186:9- 187:9.

         75.     The stress positions that Defendants placed prisoners in – kneeling, standing, heads

  down, hands cuffed behind their backs, without water or bathroom breaks – “is well outside

  accepted correctional practice” and “just plain cruel.” Ex. A at 33. “These holding areas were

  managed in a way that was intended to be painful, embarrassing, and a test of prisoners’ endurance

  without any legitimate penological purpose.” Id.

         76.     Cell Searches. The cell searches were wrought with similar problems. As Mr.

  Pacholke has explained, “[i]t is a well-accepted correctional practice throughout the country that




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  when a cell is searched, two staff members are present” to proactively avoid misconduct or

  allegations of misconduct, id. at 34, but Defendants did not ensure that two staff members

  participated in the search of each cell, instead leaving cells to be searched by a single tact team

  member. ECF 481-16 at 206:6-207:22 And worse still, the single tact team member conducting

  the search was often someone without the familiarity of local practices and policies regarding

  personal property, commissary limits, or the prisoners within those cells. Ex. A at 34-35.

         77.     As Mr. Pacholke has described, such a practice was contrary to the commonly

  accepted practice to pair outside staff with one from the facility to minimize the chance that

  authorized items were confiscated. Id. at 35. “This approach resulted in complaints of broken

  property, items being taken that shouldn’t have been and left the incarcerated population almost

  no way to contest what had occurred.” Id. Officers took sentimental items, such as family photos,

  hygiene items, and food from the commissary. Id. at 64 (summarizing grievances).

         78.     “[I]nmates nearly universally described how Orange Crush destroyed or damaged

  their property during their shakedown.” Ex. C at 10. Plaintiff’s expert Patrick Hurley tabulated

  138 grievances that referenced or complained of lost or destroyed property across the various

  facilities.” Id. For Hurley, “[t]he complaints were remarkable for their volume and consistency”

  when made by “a host of prisoners at different, far flung facilities.” Id. “Inmates in the same facility

  often have difficulty communicating with one another about an event or phenomenon.” Id. “For

  inmates at different facilities, such communication is substantially difficult, especially in the

  absence of any evidence of collusion.” Id. “In this light, the volume and consistency of complaints

  across different facilities strongly suggests that the inmates in the different facilities were

  accurately reporting what had occurred in the shakedowns.” Id.




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           79.      Even if prisoners grieved their property loss, Plaintiffs’ expert Pacholke opined that

  they did not know who had conducted the search of their cell because cell slips were “illegible or

  nonexistent.” Ex. A at 35. Shakedown slips would not state what was confiscated, so grievances

  would be denied because the grievance officer could not verify what items were taken or

  substantiate that prisoners had those items in the first place. Id. at 64. This left prisoners with no

  recourse when their property was wantonly damaged, taken, or broken, which is further evidence

  that these operations were meant to demean, dominate, and dehumanize prisoners and undermine

  their changes for resolution after the fact. Id. (summarizing takeaways from reviewing grievances).

           80.      These tactics were unwarranted. “The vast majority of units or facilities that were

  searched were not involved in a violent incident or any other activity that would warrant this type

  of abusive staff behavior.” Id. at 19. “Brutal searches designed to display control and threaten have

  been widely recognized as bad, unsafe correctional practice since at least the 1970’s-1980’s.” Id.

  at 20.

           81.      After their cell searches were complete, the prisoners were marched back to their

  cells in the same “nuts to butts” formation. See ECF 481-31 at 110:14-112:15; ECF 481-33 at

  117:22-119:17; ECF 481-36 at 127:12-128:8; ECF 481-37 at 89:22-91:17; 93:4-94:20; ECF 481-

  40 at 177:4-7; ECF 481-41 at 73:17-23; ECF 481-42 at 81:23-85:12; ECF 481-43 at 48:14-17;

  ECF 481-44 at 65:3-67:19; ECF 481-45 at 83:24-85:19; ECF 481-46 at 68:9-13; ECF 481 at 15

  n.13 (citing declarations submitted at ECF 481-51).

                 Yurkovich, Atchison, White, and McAllister Ignore Obvious Problems

           82.      As the 2014 shakedowns were ongoing, prisoners submitted grievances. Plaintiffs’

  expert Patrick Hurley noted that grievances across different facilities “recounted strikingly similar

  conduct by Orange Crush across facilities and throughout their shakedowns. . . . [T]he similarity




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  of these accounts strongly indicates the truth of the class members’ recounting of the conduct by

  Orange Crush.” Ex. C at 7, 28.

         83.     These grievances, alongside the daily briefings received from tact team members

  on the ground, gave Defendants notice of abuses during the shakedowns. Godinez was aware of

  many reports of abuse by tact team members during the facility operations, yet he failed to stop

  them, even after receiving a letter from Uptown Peoples’ Law Center on May 14, 2014 regarding

  the abuses that had occurred at Menard and Shawnee. ECF 481-16 at 100:5-7, 107:17-19, 109:10-

  20.

         84.     As deputy chief, Atchison received status updates at the end of the day with

  highlights of what was found or use of force, segregation, transfer, or assault incidents. ECF 481-

  6 at 79:12-23. Yurkovich received these daily reports as well. ECF 481-16 at 100:5-7, 107:17-19,

  109:10-20. When incidents of abuse were reported in these updates, neither Yurkovich nor

  Atchison took steps to investigate, respond to, or correct the unprofessional behavior of on-site

  personnel. ECF 481-16 at 235:7-12; ECF 481-6 at 104:3-11.

         85.     Similarly, neither White nor McAllister investigated allegations of abuse or

  misconduct reported in the facilities they supervised. ECF 481-7 at 150:21-24.. They likewise

  failed to supervise the tact team commanders and assistant commanders in the field to ensure that

  allegations of excessive force, physical and verbal abuse, unprofessionalism, and misconduct were

  property investigated. ECF 481-7 at 151:23-152:2.

         86.     Multiple emails were exchanged among tact team officers and commanders as early

  as April 2014 that highlighted prisoners’ experiences with abusive and unprofessional staff during

  the shakedowns. Ex. I. In these exchanges, they discussed the “overwhelming amount of

  allegations of staff misconduct” from prisoners in different facilities, including accounts of tact




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  team members eating their food and leaving empty candy wrappers, missing property not

  documented on shakedown slips, broken damaged property, property receipts missing, urine on

  bed sheets and in property boxes, allegations of physical abuse such as slapping the backs of their

  heads, forcefully placing their heads against walls ….” Ex. A at 41-42 (summarizing emails) In

  one instance, Atchison and Yurkovich were made aware of a prisoner who suffered a broken wrist

  during a May 15 shakedown, yet these supervisors dismissed the complaint. As Plaintiffs’ expert

  Pacholke opined, “[h]ow this prisoner’s broken wrist could be dismissed by the Defendants

  without any investigation is a dereliction of their duty to protect the prisoners in their care.” Id.

           There Was No Legitimate Penological Justification for These Shakedowns

         87.     Plaintiff’s experts offer the opinion that there was no legitimate justification for the

  extent of these operations. First, the shakedowns failed to accomplish their alleged goal of

  identifying contraband. Very little contraband was confiscated to justify what was an extremely

  costly operation for the state in overtime pay, travel and lodging, staff resources, and subsequent

  legal defense. Ex. A at 17. Instead, the evidence demonstrates that Orange Crush tact team

  members indiscriminately abuse prisoners’ property. Class members wrote grievances

  complaining about the abuse they suffered at the hands of the tact team members. ECF 481-92.

  Prisoners reported missing property, paperwork, commissary, and electronics. Ex. A at 20.

  Atchison testified that he believed these complaints to be true. ECF 481-6 at 139:22-140:4. In fact,

  he testified that several policy changes were the result of the 2014 shakedowns to ensure they did

  not happen again. ECF 481-6 at 58:10-59:3.

         88.     Second, the shakedowns failed to accomplish their alleged goal of gaining gang

  intelligence. Instead, these searches were designed to inflict pain and humiliation. Ex. A at 20.

  Their approach was designed to “escalate fear and dominance within the inmate population while




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  signaling that brute force would be utilized.” Id. at 18. Using the tact team “throughout the state

  in full tactical gear e.g., anonymized coveralls, body armor, helmets, batons, padded gloves, pepper

  spray with large numbers of staff marching in formation was intentional and intended to

  intimidate.” Id. at 18-19. “So was the banging of their batons against railings and cell doors while

  yelling as they entered the units.” Id.

         89.     Third, the execution of the shakedowns demonstrates that their purported

  justifications were a farce. Defendants conducted just two investigations into allegations of abuse.

  ECF 481-95; ECF 481-96.

         90.     These investigations were hamstrung by IDOC’s failure to document the

  shakedowns. Defendants failed to preserve nearly all of the video taken of the shakedowns. ECF

  481-6 at 65:6-68:6; 143:12-24; ECF 481-17 at 265:21-266:2, 270:12-271:15; ECF 481-17 at

  270:12-271:15; ECF 481-7 at 129:8-11; ECF 481-83 at 8 (No. 11). “Recording tactical operations

  has been standard practice for a long time.” Ex. A at 60. But none of the Defendants ordered

  tactical staff to videotape their operations, despite daily reports of abuse and misconduct. Id.

                                     PROCEDURAL HISTORY

         The complaint in this case was filed in March 2015, on behalf of a putative class of

  prisoners at Menard, Illinois River, Big Muddy River, and Lawrence who had been subjected to

  the 2014 shakedowns. Through amendments, Plaintiffs named as defendants the tact team

  members who conducted the shakedowns, as well as the 22 individuals responsible for overseeing

  and supervising the shakedowns to ensure they were conducted according to plan.

         In 2018, Plaintiffs moved to certify the class under Rule 23(b)(3). ECF 481. The Court

  granted Plaintiffs’ motion, explaining that while “the class members’ particular experiences

  [during the shakedowns] may vary to some degree,” any such variance went to the existence and




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  quantum of damages, ECF 519 at 11-12, whereas liability issues relied on “common questions

  inherent in Plaintiffs’ Eighth Amendment claims . . . .” Id. The Defendants appealed the Court’s

  decision pursuant to Rule 23(f), but the Seventh Circuit affirmed class certification.

         Plaintiffs subsequently disclosed the opinions of its two experts, Daniel Pacholke and

  Patrick Hurley. See Exs. A & C. Mr. Pacholke and Mr. Hurley both examined evidence about the

  planning and execution of the shakedowns. Both experts offered opinions that the evidence they

  had reviewed regarding the planning and execution of the shakedowns indicated that the

  shakedowns were not planned to effectuate a legitimate penological purpose and instead appeared

  designed to harass, humiliate, and intimidate the people confined in each of the affected prisons.

  Defendants have issued their own expert report, and now move for summary judgment, ECF 642.

                                        LEGAL STANDARD

           At the summary judgment stage, the Court’s task is to determine whether Plaintiffs can

  present enough evidence supporting Plaintiffs’ claims against the Defendants “to require

  submission [of those claims] to a jury . . . .” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 243

  (1986). The Court cannot weigh the evidence or decide whose version of admissible evidence

  should be believed. Id at 249. That is because “[c]redibility determinations, the weighing of the

  evidence, and the drawing of legitimate inferences from the facts are jury functions, not those of a

  judge,” and thus require a jury trial to decide. Id. at 255. At summary judgment, the Court must

  view the evidence in the light most favorable to Plaintiffs, and must draw all reasonable inferences

  in their favor. Tolan v. Cotton, 572 U.S. 650, 660 (2014). Summary judgment is only proper if the

  record “show[s] that there is no genuine dispute as to any material fact and that the moving party

  is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c). So long as “the evidence is such




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  that a reasonable jury could return a verdict for” Plaintiffs on their claims, summary judgment

  must be denied. Anderson, 477 U.S. at 248. 1

                                                   ARGUMENT

    I.     Plaintiffs Present a Genuine Issue of Material Fact on Their Eighth Amendment
           Claims Against the Supervisory Defendants

           Plaintiffs assert class claims against the Defendants charging that they (1) designed and

  implemented a plan to conduct abusive and humiliating shakedowns that did not further any

  legitimate penological purpose, in violation of class members’ Eighth Amendment rights; (2)

  reached an agreement to violate class members’ constitutional rights; and (3) knew their plan

  would violate class members’ Eighth Amendment rights, and did nothing to intervene to prevent

  these constitutional violations.

           At the heart of each of these claims is the contention that the Defendants crafted a plan to

  conduct shakedowns that were intended to inflict unnecessary pain and humiliation without any

  legitimate penological justification, in violation of the Eighth Amendment. Mays v. Springborn,

  575 F.3d 643, 649 (7th Cir. 2009) (searches violate the Eighth Amendment when they are

  “conducted in a harassing manner intended to humiliate and cause psychological pain”); Calhoun

  v. DeTella, 319 F.3d 936, 939 (7th Cir. 2003) (searches conducted in a manner that has no

  legitimate penological justification violate the Eighth Amendment). The conspiracy claims further

  require the class to establish that the Defendants reached an agreement to violate class members’

  Eighth Amendment rights and each took action in furtherance of that agreement. Scherer v.

  Balkema, 840 F.2d 437, 442 (7th Cir. 1988). Finally, the failure-to-intervene claims require proof




  1 Plaintiffs do not oppose summary judgment as to their injunctive relief claims, ECF 642 at 50-52, or on their IIED

  claim, id. at 52-56.


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  that the Defendants had the opportunity to intervene to prevent the violation of class members’

  Eighth Amendment rights. Rosado v. Gonzalez, 832 F.3d 714, 718 (7th Cir. 2016).

          In affirming class certification in this case, the Seventh Circuit provided guidance about

  how these claims were to be tried and adjudicated. The ultimate class issues in dispute in this case,

  the Seventh Circuit explained, were narrow: “[t]he [supervisor defendants] concede,” wrote the

  Court, “that the shakedowns were conducted according to a uniform plan created and implemented

  by the [supervisor defendants], and that the plan was executed in a uniform manner under their

  supervision.” Ross v. Gossett, 33 F.4th 433, 438 (7th Cir. 2022). Because the Defendants had

  “conceded” “the existence of a uniform policy,” the Court of Appeals went on, “[t]he only dispute

  is . . . whether that uniform policy reflected the version alleged by the plaintiffs or the one alleged

  by the defendants.” Id.

          As such, the Seventh Circuit observed, the relevant questions on the merits are two: first,

  whether the Defendants had developed a plan to conduct the shakedowns in an unconstitutional

  manner, and second, whether the shakedowns were conducted pursuant to that plan. Id. at 442.

  Those will be the principal questions at the class trial in this case. At the summary judgment phase,

  the task for the Court is to determine whether, viewing the evidence and drawing all inferences

  from the evidence in Plaintiff’s favor, there is enough evidence for a reasonable jury to conclude

  it is more likely than not that the Defendants planned for the shakedowns to occur in a humiliating

  manner and that the shakedowns were carried out pursuant to that plan.

          Plaintiffs have gathered that evidence in droves.

     A.      Defendants Developed A Uniform Plan

          The evidence demonstrates that these shakedowns were executed consistent with a uniform

  plan developed by the Defendants. Defendants Yurkovich and Atchison decided between




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  themselves to perform facility-wide searches across the state. PSMF ¶ 4. In doing so, they ignored

  other, more effective, less invasive options that could reduce contraband or gather gang

  intelligence and instead opted for costly, intrusive facility-wide searches. PSMF ¶¶ 9-13. Indeed,

  they testified that they did not decide to perform the shakedowns because of any real need in any

  one facility, but because the prisons “hadn’t been searched on a facility-wide scale in a long time.”

  PSMF ¶¶ 4-6. At the time, notably, Yurkovich had received correspondence from the president of

  the correctional officers’ union, who told Yurkovich that union members wanted to see

  shakedowns or else they would institute a vote of “no confidence.” PSMF ¶¶ 6-8. As a long-time

  prison administrator, Yurkovich would have understood that the union president’s “no confidence”

  remark was an implicit threat from the union, because a no-confidence vote could cost Yurkovich

  and other Defendants their jobs. PSMF ¶¶ 7-8.

         Yurkovich and Atchison enlisted the “Orange Crush” tactical team to execute their vision.

  PSMF ¶¶ 14. The tact team was comprised of officers selected through an informal selection

  process, cloaked with anonymity to evade any accountability for abuse, and known for their

  violence and aggression among staff and prisoners alike. PSMF ¶¶ 15-20. The anonymity afforded

  by their uniforms, by design, opened the door for members to abuse prisoners, because there was

  no risk that they would be identified in the aftermath of their brutality. PSMF ¶ 19. Defendants in

  this case would have been well aware of these issues among Orange Crush, as the name itself was

  indicative of a violent culture that ignored normal rules governing prisoner-staff interactions.

  PSMF ¶ 20.

         After their initial conversations, Yurkovich and Atchison had a series of conversations with

  White, McAllister, and the wardens of each facility to plan the shakedowns. PSMF ¶ 23. While

  McAllister and White created written “operations orders” that outlined how the shakedowns were




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  supposed to be performed, these orders did not accurately reflect the actual plan. PSMF ¶ 24.

  Wardens received copies of these written orders, but no other tact team supervisors did. PSMF ¶

  25. First, the written orders omitted key details such as how to enter cell houses, how strip searches

  would be conducted, how front cuffing permits should be handled, or how prisoners would be

  marched from their cells to holding. PSMF ¶¶ 29, 31. Second, the written orders contradicted the

  verbal instructions that the Defendants actually gave to tact team members at pre-shakedown

  briefings. For example, while the written orders said that prisoners could put their underwear back

  on after being strip searched, the verbal instructions did not. PSMF ¶ 30.

     B.      Defendants Executed Their Uniform Plan in Uniform Fashion
          The evidence demonstrates that these shakedowns were planned and overseen by each

  Defendant across one or more facilities.

          Yurkovich, Atchison, White, and McAllister supervised the 2014 shakedowns to ensure

  that the uniform plan was executed in the same manner with little variation across facilities. Each

  shakedown began with a 10 to 15 minute briefing where White and/or McAllister would

  communicate the plan to tact team members. PSMF ¶ 28. These briefings laid out “how you would

  perform your duties of the day,” “what [prisoners] could wear out of the cell,” “[h]ow you was to

  cuff,” and “[h]ow they were to . . . conduct their self, how to handle the inmates,” among others.”

  PSMF ¶ 26. These briefings ensured that the plan was executed in the same fashion each day of

  the shakedown. During the shakedowns, Yurkovich and Atchison had daily conversations with the

  on-the-ground staff, White, and McAllister to ensure that the uniform plan was being followed

  accordingly. PSMF ¶ 32-33. Each prison’s warden, assistant warden, tact commander, and

  assistant tact commander was responsible for overseeing on-the-ground operations. PSMF ¶¶ 21-

  22. Then, before entering the cell house, the entire tactical team would convene for one last mass

  briefing delivered by McAllister, White, or the facility warden. PSMF ¶ 27.


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          Both officers and class members consistently testified that the shakedowns followed the

  same uniform plan. Officers testified that they saw no deviation from the plan outlined in their

  briefings. PSMF ¶ 34. Many class members submitted grievances in the aftermath of the

  shakedowns at their facilities, and the grievances across facilities are strikingly similar. PSMF ¶

  35, 65. As Plaintiffs’ expert Pat Hurley notes, the complaints were remarkable for their volume

  and consistency across multiple facilities, where class members would have no ability to

  communicate or collude on their accounts. PSMF ¶ 61. That consistency supports the inference

  that the Defendants acted according to a consistent plan through the shakedowns. Id.

          White and/or McAllister were present for each shakedown and received briefings

  throughout from tactical team commanders to ensure compliance with the plan. PSMF ¶ 32.

     C.      The Shakedowns Violated Class Members’ Constitutional Rights
          The evidence further demonstrates that these shakedowns violated Plaintiffs’ Eighth

  Amendment rights. The Eighth Amendment prohibits searches of prisoners that are “so totally

  without penological justification that [they] result in the gratuitous infliction of suffering.” Gregg

  v. Georgia, 428 U.S. 153, 173 (1976); see also Hudson v. Palmer, 468 U.S. 517, 530 (1984)

  (Eighth Amendment protects against “calculated harassment unrelated to prison needs”). But even

  where there is a valid penological justification to conduct a search, the Seventh Circuit has held

  that “the manner in which the searches were conducted must itself pass constitutional muster.”

  Mays v. Springborn, 719 F.3d 631, 633-34 (7th Cir. 2013); King v. McCarty, 781 F.3d 889, 897

  (7th Cir. 2015) (“Even where prison authorities are able to identify a valid correctional justification

  for the search, it may still violate the Eighth Amendment if conducted in a harassing manner

  intended to humiliate and cause psychological pain.” (citing Mays, 575 F.3d at 649)), overruled

  on other grounds by Henry v. Hulett, 969 F.3d 769, 783 (7th Cir. 2020). Certainly, some searches

  do not rise to the level of a constitutional violation because they are motivated by a legitimate


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  penological justification and conducted in a manner that adheres to the legitimate penological

  justification. But, the evidence shows, that was not this case here.

         Yurkovich and Atchison enlisted a tactical team known for its anonymity and brutality.

  PSMF ¶¶ 14-20. Across the grievances, class members recounted virtually identical experiences.

  As the shakedown began, the tact team members entered the living area while yelling and banging

  their batons on the bars. PSMF ¶¶ 36-37. There was no need to do this to prisoners in their cells

  and presenting no threat. PSMF ¶ 40. If the goal was to “surprise” prisoners so they did not hide

  contraband, any hopes of maintaining the element of surprise would be dashed by announcing that

  the tact team had arrived. PSMF ¶ 38. Instead, the apparent goal was to “inflict pain, intimidate,

  belittle, and humiliate” prisoners through abusive staff behavior that could only succeed in

  escalated tensions between staff and prisoners. PSMF ¶¶ 37-40.

         Then, in violation of IDOC policy, tact team members approached each prisoner and

  ordered them to strip. PSMF ¶ 41. Multiple class members reported being subjected to demeaning

  and unsanitary “reverse” strip searches under the threat of physical violence from staff. PSMF ¶¶

  41-42. Strip searches are a routine task that staff are trained to perform head to toe, so instructing

  prisoners to perform these in reverse would be a deliberate choice by correctional staff intended to

  humiliate the prisoners. PSMF ¶ 43.

         After that, prisoners reported that officers would not allow them to put on underpants after

  their search. PSMF ¶ 44. While the written orders told tact team members that prisoners could put

  their undergarments back on, the briefings told officers otherwise, without justification. Id.

         Next, tact team members cuffed prisoners with their hands behind their backs, palms-out,

  and their thumps facing up, a maximum-security technique typically only used for moving

  prisoners into segregation. PSMF ¶¶ 45-46. Even when the palms-out technique is used, prisoners




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  are only kept in this position for short periods, given that it is so painful. Id. That is not what

  happened during the shakedowns in this case. Instead, the tact team members employed this

  painful cuffing technique on the class members for an extended period. Id. See also infra.

         Once they were cuffed, prisoners were marched in two single-file lines “nuts to butts” in

  close formation such that their genitals were forced to make physical contact with the prisoner in

  front of them, and vice versa. PSMF ¶ 47-48, 51. Walking in this close formation subjected

  prisoners to the risk of tripping and falling, while tact team members pushed, punched, shoved,

  poked with batons, and subjected them to verbal abuse. PSMF ¶¶ 47, 49. Prisoners were not

  permitted to look around, and tact team members told them to look at the ground under threat of

  violence. PSMF ¶ 50. Plaintiffs’ experts have explained that this line movement had no legitimate

  penological justification, and that instead these practices were designed to humiliate. PMSF ¶¶

  65-70. Prisoners repeatedly risked tripping and falling while having their hands and faces

  deliberately pushed into the genitals and back of the prisoner in front of them. PSMF ¶¶ 47, 50.

  This lack of justification is further demonstrated by IDOC’s own policies. IDOC routinely allows

  two corrections officers to escort up to 90 prisoners uncuffed while allowing prisoners the freedom

  to look around, PSMF ¶ 52, and IDOC’s written Administrative Directive provides that prisoners

  in line movement should travel at “arm’s length.” PSMF ¶ 33. There was nothing “magical or

  extreme” likely to occur during a facility search that would justify deviating from that standard

  approach. PSMF ¶ 53-54.

         Then, class members were made to wait in holding areas during the searches, often for

  hours at a time while cuffed and often standing, without justification. PSMF ¶ 55. Class members

  reported their legs giving out from exhaustion, needing to have their cuffs checked and adjusted

  for loss of circulation, and being unable to use the bathroom or sit despite clear medical needs.




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  PSMF ¶¶ 56-57. These types of restrictive holding practices are typically used for fights that risk

  escalating between prisoners, not entire facility searches. PSMF ¶ 58. Employing these practices

  here without justification is just “painful, embarrassing, and a test of prisoners’ endurance without

  any legitimate penological purpose.” Id.

         Finally, prisoners were marched back to their cells in the same “nuts to butts” manner.

  PSMF ¶ 64. When they returned, they found that tact team members in many cases had gotten rid

  of personal or accepted property in their facility, but Orange Crush’s anonymity made grieving

  against any one officer impossible. PSMF ¶¶ 59-63.

         Finally, though numerous prisoners filed grievances and made complaints about the

  manner in which the shakedowns at the facilities were conducted, the defendants made little effort

  to investigate them, and never paused the shakedowns in light of the complaints of serious

  violations. PSMF ¶¶ 82-86.

         The evidence outlined above is set out in dozens of depositions and thousands of pages of

  records. Plaintiffs have gathered ample evidence sufficient to answer both questions set out by the

  Court of Appeals when it affirmed class certification: first Plaintiffs have gathered evidence from

  which a reasonable jury could conclude that Yurkovich, Atchison, and the other Defendants

  planned for the shakedowns to be conducted in a violent, harassing manner designed to humiliate

  the prisoners at the various facilities. Second, Plaintiffs have gathered evidence showing that the

  shakedowns, through their various steps, were carried out pursuant to this plan, all while being

  overseen by the Defendants themselves. Defendants disagree with these claims, and offer evidence

  of their own, largely in the form of their own self-serving denials. That sets up conflicting, material

  evidence that a jury must weigh and decide. This case should proceed to trial.




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     D.      Defendants’ Analysis of the Facts in the Case is Defective.

     The Defendants’ summary judgment submission, by contrast, avoids answering either of the

  questions framed by the Court of Appeals. First, the Defendants presume that the shakedowns

  were planned for a legitimate purpose, never engaging with the substantial evidence Plaintiffs have

  gathered showing otherwise. Second, the Defendants examine each of the abusive components of

  the shakedowns in isolation, adopting different rationalizations to justify or brush away each one–

  but again, failing to grapple with ample evidence permitting the inference that from start to finish,

  the shakedowns were conducted in a manner that did not further a penological purpose but instead

  were intended to humiliate and harass the class members. Third, the Defendants argue that each

  component of the shakedowns must be considered in isolation rather than as part of a plan. In fact,

  the opposite is true

     Defendants assume shakedowns were planned for a legitimate purpose. The Defendants

  begin by summarizing the shakedowns in the most anodyne means possible: officers entered the

  living areas, strip searched the prisoners, escorted them to holding areas, searched their cells, and

  then brought them back. See ECF 642 at 14. In doing so, the Defendants assume a legitimate

  impetus for the planning of the shakedowns, ECF 642 at 33, simply ignoring the wealth of evidence

  that Plaintiffs have presented to the contrary, indicating that the shakedowns were motivated to

  appease a union that expressed a desire to show prisoners who was in charge in the IDOC, supra

  ¶¶ 4-9. In failing even to engage with this evidence, the Defendants fail to examine or even

  consider “‘the validity of [the shakedown plan],’” which, as this Court explained in its class

  certification decision, “‘tends to be the predominant issue in the litigation’” about such plans. ECF

  519 at 11 (quoting Streeter v. Sheriff of Cook Cnty., 256 F.R.D. 609, 614 (N.D. Ill. 2009)).




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         Defendants offer shifting rationalizations for each abusive step in the shakedowns. From

  their initial presumption that the shakedowns were conducted pursuant to a legitimate penological

  plan, the Defendants purport to examine the manner in which the shakedowns were conducted.

  But the Defendants examine each allegedly abusive part of the shakedowns in isolation, offering

  shifting rationalizations for each shakedown component, and never reaching the relevant question:

  whether it can be inferred that the abuses at each step of the shakedowns–which were reported by

  numerous prisoners across the different prisons where the shakedowns occurred–were “conducted

  in a harassing manner intended to humiliate and cause psychological pain.” Mays, 575 F.3d at 649.

         Entering the cellhouse in a loud and intimidating manner? Defendants claim that their

  loud, intimidating entrance “can surprise the inmate population and prevent inmates from

  destroying or hiding contraband.” ECF 642 at 44. Both experts offered by Plaintiffs explain what

  any layperson would immediately recognize: a noisy warning that a shakedown was coming would

  give a prisoner with contraband more time to hide it, undermining the purported purpose of the

  shakedowns at their inception. PSMF ¶¶ 42; supra at 49. A reasonable jury could conclude that

  the tact team’s unprofessional entry was designed not as a method to surprise, but instead to

  intimidate and demean, and to set the tone for the abusive conduct that would follow. Id. And the

  IDOC has since forbidden this entry during facility searches, which a reasonable jury could

  consider in determining that such a method of entry was not necessary to achieve any legitimate

  penological interest. PSMF ¶ 55.

         Forcing prisoners to perform a reverse strip search, in which they were forced to touch their

  own genitals and then put their fingers in their mouths? Defendants acknowledge that such a

  search would be a wholesale departure from policy, ECF 642 at 40, but brush away widespread

  reports of the technique, ECF 642 at 41, claiming that “40%” of the interviews Defendants’




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  attorneys conducted of putative class members confirmed that a head-to-toe search was done

  instead. ECF 642 at 41 (citing DSMF ¶ 188). As Plaintiffs explain supra in their response to

  DSMF ¶ 188, however, in the cited interviews, which were done ex parte, defense attorneys were

  careful not to ask the class members whether they were subject to reverse strip-search, such that

  in almost all cases prisoners were never asked, and never said, whether or not a reverse strip search

  was conducted. See Plaintiff response to DSMF ¶ 188, supra. In reality, only 2 of the 40 prisoners

  interviewed by defense counsel actually stated that they did not receive a reverse strip search. Id.

  That is a vanishingly small number of the 111 prisoners whose testimony was presented by the

  two sides in this case. See Plaintiff response to DSMF ¶¶ 186-88, supra. Defendants simply have

  amplified omissions in the record, primarily of their own making, while failing to offer any

  compelling showing of actual meaningful inconsistency. 2

          Forcing prisoners to dress without underwear after their strip search, which violated IDOC

  policy? Defendants say that as a general matter prisoners may hide contraband in their underwear,

  ECF 642 at 10, a proposition that may be true when a prisoner puts on underwear in seclusion, but

  is hard to explain where the prisoner is dressing in front of guards who have just searched him.

  And indeed, the experts proffered by Plaintiffs explain that such a practice lacked a legitimate

  purpose and was demeaning. PSMF ¶¶ 53-54, supra at 50. Again, the IDOC no longer prohibits

  prisoners from wearing underwear during facility searches, showing that such a method was not

  necessary to achieve a legitimate penological purpose. PSMF ¶ 55.




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       As this Court explained in its class certification decision, such minor variations in the experience
  of a minority of class members would not defeat the utility of a class trial. See ECF 519 at 11
  (“while the class members’ particular experiences may vary to some degree, any such variation
  would primarily impact the type and amount of recoverable damages, assuming Defendants’ liability
  is proven.”).

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         Deploying a needlessly painful palms-out handcuffing technique for thousands of

  prisoners? Defendants say that “routine discomfort” is an ordinary part of prison life, ECF 642 at

  42, and they justify this with their own testimony that cuffing was done by the book. ECF 642 at

  36-37. And once again, Defendants ignore the glaring factual dispute created by this cuffing

  technique: the experts proffered by Plaintiffs explain that the painful, palms-out cuffing technique

  for extended periods of time is widely recognized within the field of corrections as being

  appropriate only in situations requiring extraordinary security, not the “spring cleaning”

  shakedowns that were conducted in this case. PSMF ¶¶ 57, 59; supra at 50.

         Forcing prisoners to dress without underwear after their strip search, which violated written

  IDOC policy? Defendants say that as a general matter prisoners may hide contraband in their

  underwear, ECF 642 at 10, a proposition that may be true when a prisoner puts on underwear in

  seclusion, but is hard to explain where the prisoner is dressing in front of guards who have just

  searched him. And indeed, the experts proffered by Plaintiffs explain that such a practice lacked

  a legitimate purpose and was demeaning. PSMF ¶ 54. Again, the IDOC no longer prohibits

  prisoners from wearing underwear during facility searches, showing that such a method was not

  necessary to achieve a legitimate penological purpose. PSMF ¶ 55.

         Deploying a needlessly painful palms-out handcuffing technique for thousands of

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  42, and they justify this with their own testimony that cuffing was done by the book. ECF 642 at

  36-37. Once again, this ignores the glaring factual dispute created by this cuffing technique: the

  experts proffered by Plaintiffs explain that the painful, palms-out cuffing technique is widely

  recognized within the field of corrections as being appropriate only in situations requiring

  extraordinary security, and even then for short periods of time—not the “spring cleaning”




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  shakedowns that were conducted in this case, in which many class members were cuffed palms-

  out for hours. PSMF ¶¶ 56-59; supra at 50.

         Forcing prisoners to march in formation so close that their genitals touched? Defendants

  simply deny there is evidence this occurred (with potentially inadvertent exceptions), despite

  reports from dozens upon dozens of prisoners that it had, PSMF ¶¶ 60, 64, and despite

  photographic evidence, analyzed by expert Patrick Hurley and Daniel Pacholke, setting forth plain

  evidence that the tact teams used line movement as an occasion to harass prisoners and put them

  much closer together than necessary. See PSMF ¶¶ 61, 65-70, and supra at 50-51.

         Forcing prisoners to remain handcuffed and in painful positions, sometimes for hours, for

  as long as it took to search their cells? The Defendants do not contest that this was the uniform

  practice during the shakedowns, and respond only that some prisoners were not held in these

  positions for multiple hours, because some searches happened to be completed faster than others.

  ECF 642 at 38. Such variations, however, merely indicate that some cell searches happened to

  take less time than others. They do not suggest that the defendants deviated from the plan of

  holding the class members in unnecessarily harsh and painful conditions while the cell searches

  were conducted.

         Cell shakedowns that did not observe facility rules, left cells in disarray, resulted in

  frequent reports of eaten food and destruction of legitimate and important property like family

  photos? The Defendants do not address this abusive aspect of the shakedowns at all, even though

  they produced an extraordinary number of grievances and even though Plaintiff’s experts point to

  the troubling nature in which they were conducted, and a reasonable jury could consider that

  evidence in determining whether the shakedowns and their executions were done to intimidate and

  harass, and not to further legitimate penological interests. See PSMF ¶¶ 76-81.




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           Lax or nonexistent follow-up by supervisors regarding complaints by prisoners regarding

  the manner in which the shakedowns were conducted? This feature of the shakedowns is also

  ignored by Defendants, even though Plaintiffs’ experts explain that it is indicative of a shakedown

  plan that was indifferent to the widespread abuses perpetrated during the shakedowns. PSMF ¶¶

  82-86.

           The Defendants’ various rationalizations, in short, do not withstand scrutiny. More

  important for the Court’s summary judgment analysis, each different rationalization fails to engage

  with the evidence Plaintiffs have amassed showing that each step of the shakedowns was

  conducted in an unnecessarily abusive manner divorced from a legitimate penological interest, but

  was instead done in a way designed to intimidate and humiliate the class. Defendants have done

  nothing, in short, to negate Plaintiffs’ class-wide evidence supporting their allegations that the

  shakedowns violated the Eighth Amendment rights of the class.

           The Defendants insist on an incorrect legal frame for analyzing the shakedowns. Rather

  than try to answer whether each abusive step in the shakedowns was part of a plan to humiliate the

  class members, the Defendants insist that question is off limits–the Court, the Defendants say, must

  consider each part of the shakedowns in isolation and analyze each one separately–none can be

  “aggregated together” to determine whether they were part of a plan. ECF 642 at 39.

           This argument badly mixes apples and oranges in Eighth Amendment case law. The

  Defendants primarily rely on Wilson v. Seiter, 501 U.S. 294, 304-05 (1991), a case involving a

  prisoner who complained generally that various and unrelated conditions of his confinement

  should be considered altogether to determine whether his Eighth Amendment rights were violated

  generally. The Supreme Court rejected that analysis, finding instead that an Eighth Amendment

  claim must identify an “single, identifiable human need” and not merely a patchwork of unrelated




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  conditions that comprise a general constitutional violation. Id. In this case, Plaintiffs have

  identified a single, identifiable human need that was violated by Defendants’ misconduct, and one

  that the Supreme Court has expressly recognized: the right to be free from “calculated harassment”

  unrelated to legitimate penological needs as part of a prison search. Hudson, 468 U.S. at 530. As

  such, a search may violate the Eighth Amendment “when [it is] conducted as part of a course of

  ‘calculated harassment unrelated to prison needs.’” Stewart v. Lyles, 66 F. App'x 18, 20–21 (7th

  Cir. 2003)(quoting Hudson, 468 U.S. at 530) (other citations omitted; emphasis added).

         Indeed the Seventh Circuit has recognized that, when considering whether a search was

  motivated by or executed with an intent to harass and intimidate, all of the circumstances of that

  search should be considered as a whole. Mays, 575 F.3d at 649-50. In Mays, the Seventh Circuit

  reversed summary judgment against a prisoner who had been searched, noting that the plaintiff’s

  allegations about multiple aspects of the searches, considered together, permitted a reasonable jury

  to conclude that they were conducted for intimidation and harassment: [1] the fact that other

  prisoners often were in view and [2] the fact that the searches were done in a cold room and [3]

  that guards did not regularly change their gloves and [4] that guards sometimes made demeaning

  comments and [5] that the searches violated written policies. Id. at 649; see also Calhoun, 319

  F.3d at 939-40 (illegitimate purpose of search can be inferred by considering “behavior unrelated

  to legitimate prison needs” including [1] guards’ ribald comments during search; [2] sexually

  explicit gestures; and [3] female guards were invited spectators of the search). If Defendants’

  position were correct, the Seventh Circuit would have had to examine each of these aspects of the

  searches in isolation. Instead, as the Seventh Circuit in Mays and district courts through this Circuit

  have recognized, each aspect of one or more searches must be considered in combination to

  determine whether or not a reasonable jury could determine that in their purpose or execution they




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  were designed to harass or intimidate, in violation of the Eighth Amendment. E.g., Young v. County

  of Cook, 2009 WL 2231782, at *1 (N.D. Ill. July 27, 2009) (in the context of strip searches, “[i]t

  is inappropriate to compartmentalize each bit of plaintiffs’ evidence and view it in isolation”); see

  also Chatman v. Gossett, 2018 WL 10517620, at *5 (C.D. Ill. Jan. 17, 2018) (considering all

  aspects of the challenged searches in combination but determining summary judgment was still

  required);

         Defendants’ suggestion that the Court should put on blinders and consider each step of the

  search in isolation would prevent the Court from considering whether the supervisor Defendants

  planned to conduct the shakedowns, from start to finish, in a manner that was designed to harass

  and humiliate the class members. Consider the affidavit of class member Kenji Haley, a prisoner

  at Big Muddy correctional center, which is quoted in Mr. Hurley’s report at length:

         On May 13, 2014, around nine a.m. I as well as other men who were housed with
         me was violently awoke by men in orange jumpsuits (known as “Orange Crush”)
         ran on the wing, using their batons to slam on the doors repeatedly and scream
         “wake the fuck up!!!” Once they screamed their expletives, all of the orange crush
         was on each and every door on the wing. Once they opened the door, they made
         each of us go to the wall. They had me strip naked, then lift my genitals, turn around
         and spread my cheeks, turn around again and use those same hands to open my
         mouth and reveal my gums (to make sure that I was not concealing anything) and
         then I was told to put only my blues on (no underwear or shirt) and step outside.
         once I was outside, I was screamed at to not look up or “we will beat your ass,
         boy!” They applied special “orange” handcuffs to me and they were put on so tight,
         that I had “black” rings around my wrist for weeks to come. Once I was cuffed up,
         they told me to keep your head down and “if you don't keep it down, we will make
         you pay!” Any inmate who dared to look at them were beat up, pepper-sprayed and
         carried off to segregation. They then mad us make this long and painful walk to the
         dietary where we were held for over 2 hours, cuffed with our hands behind our
         backs, seated with our heads facing down onto the table. One inmate, an older male
         (now deceased) was in so much pain from the cuffs and being held down that he
         started to sweat profusely, panic and become sick, he then asked to use the
         bathroom and was rejected. Shortly after, he defecated on himself and was then
         carried off to the bathroom in the technique they call the “chicken-wing.” Once
         they were finished “tossing” the rooms, we were sent back to the housing unit by
         having our heads slammed on the next inmates back in the same “Nuts to Butt”
         position as we did being sent out.


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         The room was so disarrayed that my items were in my cellmates' boxes and his
         things were in mine. I also noticed that they took all of my laundry soap was
         dumped into my toilet where it dissolved there and that food that I DID NOT open
         was opened and halfeaten. I was then issued a shakedown slip, that was hard to
         read and the name was no noticed. I then saw that it stated "clear" and no ticket was
         being issued. Later that evening, I received a ticket from the officer stating that I
         had received a D.R. for destruction of state property, because my coat had a slight
         tear in it. How could I get a ticket when they stated that I did not have a ticket on
         my shakedown slip? I ran into Warden Zachary Roeckeman and asked him why did
         they take my state-issued toothbrush and could I get another. He told me that I
         should “grieve it, like you always do.”

  Ex. C at 30-31. These same basic events are recounted over and over again by the members of the

  class. PSMF ¶¶ 39, 50, 53, 56, 60, 63, 71, 81. Each step of the shakedown was a component of

  the same search; in this regard it is notable that the tact teams were trained to conduct shakedowns

  in a “systematic fashion,” PSMF ¶ 18. Those shakedown steps can and must be considered in

  combination when assessing whether the shakedowns were designed or executed with an intent to

  harass and humiliate. Mays, 575 F.3d at 649-50.

         Defendants offer no argument whatsoever about how summary judgment could possibly

  be proper when the evidence is viewed together, as it must be. That is a telling omission,

  particularly because the evidence that Plaintiffs have adduced goes far beyond the evidence that

  the Seventh Circuit found sufficient in Mays and Calhoun. Simply put, if credited (as the Court

  must at this stage), Plaintiffs’ evidence should easily permit a reasonable jury to conclude that both

  the decision to conduct the shakedowns at its inception, and the plan that governed the execution

  of the shakedowns, were motivated by harassment and intimidation, rather than any legitimate

  penological purpose. Either one is sufficient and summary judgment must accordingly be denied.




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   II.   Summary Judgment Should Be Denied as to Plaintiffs’ Conspiracy and Failure to
         Intervene Claims.

         In addition to alleging that each of the 22 supervisor defendants violated Plaintiffs’ Eighth

  Amendment rights, Plaintiffs in this case additionally charged, on the same facts, that these

  defendants conspired to violate their Eighth Amendment rights, and failed to intervene to protect

  those rights. See ECF 76 Counts II and III. Defendants address these theories only in a footnote,

  and state that if the underlying claim fails against the defendants, the conspiracy and failure-to-

  intervene claims must fail as well. See ECF 642 at 31 n.5. No further argument is made as to

  whether there is a genuine issue of material fact regarding the elements of these two theories, and

  as such the Defendants’ motion fails to satisfy Rule 56(c)(1)(B)(for “each claim or defense,” the

  party moving for summary judgment must “show[] that the materials cited do not establish the

  absence or presence of a genuine dispute”).

         In all events, Plaintiffs have adduced substantial evidence supporting both claims.

  Plaintiffs have adduced evidence of multiple meetings among all the supervisor defendants about

  the planned shakedowns and that then communicated with each other during the shakedowns to

  ensure they were going according to plan, see PMSF ¶¶ 4-5, 23-32, permitting the inference that

  the Defendants reached an agreement to violate class members’ Eighth Amendment rights and

  each took action in furtherance of that agreement. See Scherer, 840 F.2d at 442. This evidence,

  and the evidence that the Defendants were aware of but effectively ignored prisoner complaints

  about the shakedowns and how they were conducted, see PSMF ¶¶ 82-86, are evidence from which

  it can be inferred that the Defendants had the opportunity to intervene to prevent the violation of

  class members’ Eighth Amendment rights, but failed to do so. See Rosado v. Gonzalez, 832 F.3d

  at 718. Plaintiffs thus have adduced material evidence to satisfy Counts II and III.




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  III.   Defendants Are Not Entitled to Partial Summary Judgment

         As a stopgap measure, Defendants argue that the Court should grant partial summary

  judgment as to any subpart of Plaintiffs’ claims—i.e., they should receive summary judgment as

  to different steps of the shakedowns. ECF 642 at 56. This, however, is just another way of

  packaging the Defendants’ wrong-headed argument that each step in the shakedowns should be

  considered in isolation from all the others. Rule 56(a), of course, does permit parties to seek partial

  summary judgment on subclaims. But there must be a basis to do so. And as Plaintiffs have

  explained at length, the Courts are emphatic that it is inappropriate to compartmentalize evidence

  in the way Defendants have asked—rather, the point of Mays, Calhoun, and the raft of decisions

  reviewed by Plaintiffs supra is that the question of whether prisoner searches are illegitimate,

  “calculated harassment” must be assessed, and thus adjudicated, as a whole. Supra at 57-60.

  IV.    Defendants Are Not Entitled to Qualified Immunity

         Qualified immunity “protects government officials ‘from liability for civil damages insofar

  as their conduct does not violate clearly established statutory or constitutional rights of which a

  reasonable person would have known.’” Pearson v. Callahan, 555 U.S. 223, 231 (2009) (quoting

  Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). Put differently, “qualified immunity does not

  shield a government official if the alleged conduct violates a right that was clearly established at

  the time.” Leiser v. Kloth, 933 F.3d 696, 701 (7th Cir. 2019). To defeat a qualified immunity

  defense at summary judgment, Plaintiffs must demonstrate that the facts of the case (viewed in the

  light most favorable to them) show “a violation of a constitutional right” and that the

  “constitutional right was clearly established at the time of the alleged violation.” Gill v. City of

  Milwaukee, 850 F.3d 335, 340 (7th Cir. 2017). Notably, Plaintiffs do not need to find a case “on

  all fours” with the facts at issue. Hope v. Pelzer, 536 U.S. 730, 741 (2002). Instead, Plaintiffs need




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  only show “a reasonably analogous case that has both articulated the right at issue and applied it

  to a factual circumstance similar to the one at hand or that the violation was so obvious that a

  reasonable person necessarily would have recognized it as a violation of the law.” Howell v. Smith,

  853 F.3d 892, 897 (7th Cir. 2017).

         “The Eighth Amendment prohibits unnecessary and wanton infliction of pain, thus

  forbidding punishment that is ‘so totally without penological justification that it results in the

  gratuitous infliction of suffering.’” Calhoun v. DeTella, 319 F.3d 936, 939 (7th Cir. 2003) (quoting

  Gregg v. Georgia, 428 U.S. 153, 173 (1976)). This protection includes both physical and

  psychological harm. See Beal v. Foster, 803 F.3d 356, 357-58 (7th Cir. 2015). “Inmates have long

  had a clearly established right to be free from intentionally inflicted psychological torment and

  humiliation unrelated to penological interests.” Leiser, 933 F.3d at 703 (collecting cases).

         Here, Plaintiffs allege that the Defendants executed a uniform plan designed to humiliate

  and inflict psychological harm. PSMF ¶¶ 4-8, 32-34. Defendants used multiple methods to carry

  out this intent–psychological intimidation upon entering the units, degrading reverse strip searches,

  painful cuffing and humiliating mass movements, and physical and psychological violence if class

  members failed to comply with the tact team’s orders. PSMF ¶¶ 35-64. Throughout the grievances

  and depositions, class members provide strikingly similar accounts of each of these tactics. PSMF

  ¶ 61. And, Plaintiffs’ experts demonstrate in their analyses how these tactics violated both industry

  standard correctional practices and IDOC’s own policies without justification. PSMF ¶¶ 70-73.

         At summary judgment, all this court needs to decide is whether the evidence presented

  when viewed in the light most favorable to Plaintiffs supports their allegations such that a jury

  should decide which account to believe. The defendants note that other facility-wide searches have

  been upheld, ECF 642 at 50, but that focuses on the wrong issue. A variety of prisoner searches




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  are routinely upheld by courts as a matter of course, as flowing from legitimate penological

  imperatives. But for years courts have been equally clear that searches—of whatever sort—that

  are intended to harass and humiliate prisoners violate the Eighth Amendment. Case law clearly

  establishes that a shakedown plan designed to humiliate violated Plaintiffs’ Eighth Amendment

  rights. The tact team, under the direction of Defendants, who concocted the plan and supervised

  its execution, subjected class members to humiliating reverse strip searches in violation of the

  prison’s regulations. PSMF ¶¶ 41-43; see Mays v. Springborn, 575 F.3d 643, 649 (7th Cir. 2009)

  (reversing grant of summary judgment on strip search claim where evidence showed that plaintiff

  was “subjected to daily strip searches in view of other inmates, that the searches were sometimes

  done in a cold room, that guards did not regularly change their latex gloves, that guards sometimes

  made demeaning comments as they searched the naked prisoners, and that the searches were done

  in knowing violation of the prison’s regulations” as a jury “could have [] found that the searches

  were intended to harass . . . .”). Orange Crush members ignored clear medical needs of class

  members during the shakedowns–brutalizing and humiliating a wheelchair-bound class member,

  ignoring front cuffing permits, and denying class members medical care and basic needs while in

  holding. PSMF ¶¶ 42, 46; see, e.g., Mitchell v. Kallas, 895 F.3d 492, 499 (7th Cir. 2018) (“An

  absence of treatment is equally actionable whether the inmate’s suffering is physical or

  psychological.”); Arnett v. Webster, 658 F.3d 742, 752–53 (7th Cir. 2011) (refusal to provide

  inmate with prescribed medication or to follow advice of specialists can violate the Eighth

  Amendment); Ralston v. McGovern, 167 F.3d 1160, 1161–62 (7th Cir. 1999) (reversing summary

  judgment because non-medical prison guard's refusal to comply with physician's therapy decision

  could be cruel and unusual). And, throughout all these events, Orange Crush members verbally

  and physically assaulted class members without reason. PSMF ¶¶ 38, 42, 44, 47-54, 56-58; see




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  Beal, 803 F.3d at 359 (finding that the jury could find that a correctional officer's verbal and

  nonverbal harassment of a prisoner was cruel and unusual because it “inflicted significant

  psychological harm”). Both Mays and Calhoun provided ample notice that the conduct at issue in

  this case was illegal, and both cases were decided years before these shakedowns took place.

          If a jury could plausibly find that Defendants developed and executed their uniform plan

  with the intent to inflict psychological harm, qualified immunity must be denied.

   V.     Plaintiffs Present a Genuine Dispute of Material Fact on Their Eighth Amendment
          Claims Against the Non-Supervisory Defendants

          Defendants improperly move the goal post as to the non-supervisory Defendants in this

  case. 3 This is not the time to resolve any claims against the non-supervisory Defendants against

  whom the class has not been certified. Summary judgment is meant to determine what genuine

  issues of material fact exist that should be submitted to the jury at trial. Celotex Corp. v. Catrett,

  477 U.S. 317, 323 (1986). There is no trial pending against the non-supervisory defendants, and

  thus no need to resolve any claims against the non-supervisory Defendants at this time.

          At this juncture, all that is at issue at the upcoming trial, as dictated by the Seventh Circuit’s

  opinion in this case, is whether the uniform plan developed by the supervisory Defendants and

  executed at Menard, Illinois River, Big Muddy, and Lawrence was constitutional–as the

  supervisory Defendants claim–or unconstitutional–as Plaintiffs assert. Ross, 33 F.4th at 441. This

  is a class action, so the constitutionality of the plan will “drive the resolution of the litigation” for

  the entire class, including any finding of liability against the defendants. Wal-Mart Stores, Inc. v.

  Dukes, 564 U.S. 338 (2011). And, it will drive the resolution of the claims against the non-




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     Defendants have not moved for summary judgment on behalf of Defendants Bradley Clark,
  Steven Conrad, Justin Eckelberry, Jason Furlow, James Gray, Marcus Jenkins, Brian Livingston,
  John Maragni, and Carson Winters. ECF 642 at 47.

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  supervisory Defendants, who will have ability to seek summary judgment on their claims based

  on their alleged lack of personal involvement in executing the plan before their eventual trial.

           But a timetable for adjudicating claims against the non-supervisory defendants has not yet

  been set and as such it is not the time to resolve any claims against the non-supervisory Defendants

  via summary judgment. Right now, the Court need only decide what issues against the supervisory

  Defendants present a genuine issue of material fact for trial.

                                            CONCLUSION
           For the reasons set forth in this memorandum, Plaintiffs respectfully request that this Court

  deny Defendants’ motion for summary judgment.

  Dated:          August 12, 2024                        Respectfully submitted,

                                                         /s/ Megan Porter
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                                 CERTIFICATE OF COMPLIANCE

           I, Megan Porter, an attorney, certify that this response complies with the page limit set out

  in Local Rules 7.1(a)(3) and 56.1(e), as modified by this court on [X], because this response,

  exclusive of those items set out in Local Rules 7.1(a)(3) and 56.1(d), is approximately [X] pages

  in length.



  Dated:          August 12, 2024                        /s/ Megan Porter
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